   Case 3:20-cv-01371-G Document 1 Filed 05/27/20                Page 1 of 113 PageID 1



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

LOMBARDI’S INC.; LOMBARDI’S    §
FAMILY CONCEPTS, INC.; PENNE   §
SNIDER, LLC; PENNE PRESTON, LLC;
                               §
ALBERTO LOMBARDI INTERESTS, LLC;
                               §
TAVERNA DOMAIN AUSTIN, LP; CAFÉ§
TOULOUSE RIVER OAKS DISTRICT;  §
CAFÉ MONACO HPV, LLC; PENNE    §
LAKEWOOD, LLC; TAVERNA         §
BUCKHEAD, LP; TAVERNA AUSTIN,  §
L.L.C.; TAVERNA FT. WORTH, LLC;§
TOULOUSE KNOX BISTRO, LLC;     §
TAVERNA ARMSTRONG, L.L.C.;     §
TOULOUSE DOMAIN AUSTIN, LP;    §
BISTRO 31 LEGACY, LP; TAVERNA  §
LEGACY, LP; TAVERNA BUCKHEAD,                      3:20-CV-1371
                               § Civil Action No. ____________
LP; AND LOMBARDI’S OF DESERT   §
PASSAGE, INC.                  §
                               §
     Plaintiffs,               §
                               §
v.                             §
                               §
INDEMNITY INSURANCE COMPANY OF §
NORTH AMERICA,                 §
                               §
     Defendant.


                        NOTICE OF REMOVAL OF DEFENDANT
                       ILLINOIS UNION INSURANCE COMPANY

       NOW COMES Defendant Indemnity Insurance Company of North America (“IINA”),

pursuant to 28 U.S.C. § 1441 and § 1446, and files this Notice of Removal of the above

captioned cause to the United States District Court for the Northern District of Texas, Dallas

Division, and in support respectfully shows the Court the following:

       On April 29, 2020, Defendant IINA was served with Plaintiff’s Original Petition,

(“Original Petition”), styled Lombardi’s Inc., et al. v. Indemnity Insurance Company of North
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America, which was filed in the 14th Judicial District Court of Dallas County, Texas, and

docketed as Cause No. DC-20-05751.           A true and correct copy of the Original Petition is

attached as Exhibit A. Defendant IINA’s Answer to the Original Petition was filed on May 22,

2020. A true and correct copy of the Answer is attached hereto as Exhibit B. A true and correct

copy of the State Court Docket Sheet is attached hereto as Exhibit C.

A.      This Case is Removable Under 28 U.S.C. § 1332

        This matter is a civil action over which this Court has jurisdiction pursuant to 28 U.S.C. §

1332 and which may be removed to this Court by Defendant IINA pursuant to 28 U.S.C. § 1441,

in that it is a civil action between citizens of different states and, based upon a review of the

allegations contained in the Original Petition, the amount in controversy exceeds the sum of

$75,000, exclusive of costs and interest.

        1.      The Amount-in-Controversy Requirement is Satisfied

        When a plaintiff seeks monetary relief and demands an amount that exceeds the

minimum jurisdictional amount of $75,000, excluding interest and costs, the defendant can rely

on that demand to meet the jurisdictional requirement. 28 U.S.C. § 1446(c)(2). Here, Plaintiff

seeks “monetary relief of more than $1,000,000.00.”          Exhibit A ¶ 2 (Original Petition).

Plaintiff’s allegation of damages in excess of the amount in controversy requirement therefore

satisfies this requirement for diversity jurisdiction.

        2.      On Information and Belief, Complete Diversity Exists Between Plaintiffs and
                Defendant IINA

        Defendant IINA is and at all material times has been incorporated in Pennsylvania, with

its principal place of business in Philadelphia, Pennsylvania.          For purposes of diversity

jurisdiction, the citizenship of a corporation is the state where it is incorporated and the state




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where it has its principal place of business. See 28 U.S.C. 1332(c)(1). Accordingly, Defendant

IINA is a citizen of Pennsylvania for purposes of determining diversity.

       Plaintiffs Lombardi’s Inc. and Lombardi’s Family Concepts, Inc. are each corporations

that have been incorporated by the state of Texas and which each have their principal place of

business in Dallas County, Texas. Accordingly, Plaintiffs Lombardi’s Inc. and Lombardi’s

Family Concepts, Inc. are citizens of Texas for purposes of determining diversity.

       Plaintiff Lombardi’s of Desert Passage, Inc. is a corporation that was incorporated by the

state of Nevada and which has its principal place of business in Nevada. Accordingly, Plaintiff

Lombardi’s of Desert Passage, Inc. is a citizen of Nevada for purposes of determining diversity.

       Plaintiffs Penne Snider, LLC; Penne Preston, LLC; Alberto Lombardi Interests, LLC;

Cafe Monaco HPV, LLC; Penne Lakewood, LLC; Taverna Austin, L.L.C.; Taverna Ft. Worth,

LLC; Toulouse Knox Bistro, LLC; and Taverna Armstrong, L.L.C. each are limited liability

companies whose citizenship is that of their respective members.           See Murchison Capital

Partners, L.P. et al. v. Nuance Communications, Inc., Civ. No. 3:12-CV-4746-L, 2013 WL

3328694 (N.D. Tex. July 2, 2013). Similarly, Plaintiffs Taverna Domain Austin, LP; Café

Toulouse River Oaks District, LP; Taverna Buckhead, LP; Toulouse Domain Austin, LP; Bistro

31 Legacy, LP; and Taverna Legacy, LP each are limited partnerships whose citizenship is that

of their respective partners. Id. However, the identity of the members of each of these limited

liability companies and the partners of each of these limited partnerships is not publicly

available, and Plaintiffs’ Original Petition only identified these plaintiff LLCs and LPs as being

organized under Texas law and doing business in Texas, without any information as to their

members, partners, or their respective citizenships. See Exhibit A ¶ 3(c)-(d).




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        Defendant IINA diligently searched public records to ascertain the identities of the

members and partners of these plaintiff entities, so that it could determine their respective

citizenships, but IINA was unable to independently determine the identities of the plaintiff LLC

members or LP partners from publicly available sources. IINA then sought to obtain this

information directly from plaintiffs, via their counsel.              A true and correct copy of IINA’s

correspondence with Plaintiffs’ counsel seeking the identities and citizenships of the LLC

plaintiffs’ members and the LP plaintiffs’ partners is attached as Exhibit D. 1 As of the filing of

this Notice of Removal, Plaintiffs’ counsel has provided a portion of the requested information,

which is in Plaintiffs’ sole possession. Therefore the recitations of the constituents of the non-

corporate Plaintiff entities in this Notice reflects the information provided by Plaintiffs’ counsel.

        According to Plaintiffs’ counsel, Plaintiffs Alberto Lombardi Interests, LLC and Cafe

Monaco HPV, LLC each have only one member, Alberto Lombardi, who is a resident 2 of Dallas,

Texas. Therefore, Plaintiffs Alberto Lombardi Interests, LLC and Cafe Monaco HPV, LLC are

citizens of Texas for purposes of determining diversity.

        According to Plaintiffs’ counsel, Plaintiff Taverna Armstrong, L.L.C. has two members,

Alberto Lombardi and Vivian Lombardi, who are both residents of Dallas, Texas. Therefore,

Plaintiff Taverna Armstrong, L.L.C. is a citizen of Texas for purposes of determining diversity.

        According to Plaintiffs’ counsel, Plaintiffs Penne Preston, LLC and Penne Lakewood,

LLC each have two members, Alberto Lombardi and Anna Lombardi Daigle, who are both



1
  Defendant IINA has redacted the parties’ correspondence to protect the specific street addresses of Plaintiffs’
constituent members and partners from public dissemination. IINA will make unredacted copies of the
correspondence available to the Court upon its request.
2
  IINA acknowledges that domicile, not residency, is determinative of citizenship for purposes of diversity, but
Plaintiffs have only provided Defendant IINA with addresses for certain of the individual members and partners of
the Plaintiff LLCs and LPs without confirming whether those addresses are the members’ and partners’ domiciles.
Defendant IINA intends to include interrogatories confirming the domicile of each of Plaintiffs’ constituent
members and partners in the jurisdictional discovery that it seeks leave to conduct via this Notice.


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residents of Dallas, Texas. Therefore, Penne Preston, LLC and Penne Lakewood, LLC are

citizens of Texas for purposes of determining diversity.

        According to Plaintiffs’ counsel, the members of Plaintiff Penne Snider, LLC are Alberto

Lombardi, Vivian Lombardi, and Sarah Lombardi, each of whom are residents of Dallas, Texas.

Therefore, Plaintiff Penne Snider, LLC is a citizen of Texas for purposes of determining

diversity.

        According to Plaintiffs’ counsel, the members of Plaintiff Taverna Austin, L.L.C. are

Alberto Lombardi, Bill Hutchinson, Jeff Coleman, Andy Crosland, and Kevin Kerr. Apart from

Mr. Kerr, who is a resident of Wimberley, Texas, the other four members are each residents of

Dallas, Texas. Therefore, Plaintiff Taverna Austin, L.L.C. is a citizen of Texas for purposes of

determining diversity.

        According to Plaintiffs’ counsel, the members of Plaintiff Taverna Ft. Worth, LLC are

Bill Hutchinson and Alberto Lombardi Interests, LLC, whose only member is Alberto Lombardi.

Both Bill Hutchinson and Alberto Lombardi are residents of Dallas, Texas. Therefore, Plaintiff

Taverna Ft. Worth, LLC is a citizen of Texas for purposes of determining diversity.

        According to Plaintiffs’ counsel, Plaintiff Toulouse Knox Bistro, LLC has two members,

William Hutchinson and Vivian Lombardi, who are both residents of Dallas, Texas. Therefore,

Toulouse Knox Bistro, LLC is a citizen of Texas for purposes of determining diversity.



        According to Plaintiffs’ counsel, Plaintiffs Toulouse Domain Austin, LP and Taverna

Domain Austin, LP have the same two members: Bill Hutchinson and Alberto Lombardi

Interests, LLC, whose only member is Alberto Lombardi. Both Bill Hutchinson and Alberto




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Lombardi are residents of Dallas, Texas. Therefore, Plaintiffs Toulouse Domain Austin, LP and

Taverna Domain Austin, LP are both citizens of Texas for purposes of determining diversity.

        According to Plaintiffs’ counsel, Plaintiff Taverna Buckhead, LP’s members are Carter &

Joni Santos, Anna Daigle, Laura McDonnel, Sarah & Colin Santos, Austin Carter, Jeremy &

Kathleen Moeser, James Paine, and Alberto Lombardi Interests, LLC, the only respective

member of which is Alberto Lombardi. Anna Daigle, Laura McDonnel, Sarah & Colin Santos,

and Alberto Lombardi are all residents of Dallas, Texas. Carter & Joni Santos, Austin Carter,

Jeremy & Kathleen Moeser, and James Paine are all residents of the state of Georgia. Therefore,

Plaintiff Taverna Buckhead, LP is a citizen of Texas and Georgia for purposes of determining

diversity.

        According to Plaintiffs’ counsel, Plaintiffs Taverna Legacy, LP and Bistro 31 Legacy, LP

share an identical list of two members, namely Alberto Lombardi Interests, LLC and Legacy

Dunhill Investors, LLC. The sole member of Alberto Lombardi Interests, LLC is Alberto

Lombardi, who is a resident of Dallas, Texas. However, Legacy Dunhill Investors, LLC has

many constituent members. The individual members of Legacy Dunhill Investors, LLC are

listed below by their respective states of residency:

        California:         Donny Mehrabi, Jorge & Gloria Fuentes, Pratik Shah, and
                            Shraddhaben Shah

        Georgia:            William Carter Santos

        Hawaii:             Mitesh Patel and Smita Patel

        New Jersey:         Dimpal Parikh

        South Carolina:     Ila Jayant Amin and Kashmira A. Patel

        Tennessee:          Minal Amin Patel and Mitesh Patel

        Texas:              Anderson Crosland, Barbara VanOrder, David S Fogel, Deepak J.
                            Patel, Dirk Taylor, Doug Willmarth, Eric Hansen, Gina Ginsburg,


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                               John T Pryor, Justin Sparks, Marcial Rendon, Peter Fantl, Robb
                               Rasmussen, Robert Pace, Shelley O’Neal, and William L. Hutchinson

According to Plaintiffs’ counsel, Legacy Dunhill Investors, LLC also has a number of members

that are unincorporated entities:

                 Karen Dicky Marital Trust
                 Prince 2002 Family Trust
                 RGS Revocable Living Trust
                 Scott K Ginsburg Revocable Trust
                 Sue A de Mille Revocable Trust
                 Daniel Banayan IRA
                 Isaac Yomtoob SEP IRA
                 Mitesh Patel IRA
                 Simon Boostanfar IRA
                 Smita Equity Trust Company, Custodian FBO Smith Patel SEP IRA 200351390
                 GS Cameron Family, LP
                 HEGraves, LLC 3
                 Merritt Plus, LLC
                 Jacob RR Interests, LLC
                 Primetime Capital LLC
                 Skytop Investments Partnership LLC

Defendant IINA has sought definitive information from Plaintiffs as to the relevant constituents

and citizenships of each of these entities, but Plaintiffs have been unable to provide that detailed

information as of the time of this filing, so jurisdictional discovery as to these entities is needed.

Based on the information has been provided by Plaintiffs to IINA thus far, Plaintiffs Taverna

Legacy, LP and Bistro 31 Legacy, LP are each citizens of California, Georgia, Hawaii, New

Jersey, South Carolina, Tennessee, and Texas for purposes of determining diversity.

        Finally, according to Plaintiffs’ counsel, Plaintiff Café Toulouse River Oaks District, LP

has two members: Alberto Lombardi Interests, LLC and River Oaks Dunhill Investors, LLC.

The sole member of Alberto Lombardi Interests, LLC is Alberto Lombardi, who is domiciled in

Dallas, Texas. River Oaks Dunhill Investors, LLC has numerous members. The individual

3
  It is unclear from the information provided by Plaintiffs’ counsel whether the entity HEGraves, LLC, the
individual Harold Graves, or both the entity and the individual are members of Legacy Dunhill Investors, LLC.
Clarity on this point will be sought in jurisdictional discovery.


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members of River Oaks Dunhill Investors, LLC are listed below by their respective states of

residency:

       Hawaii:              Smita Patel

       North Carolina:      Suresh A Amin

       South Carolina:      Mahendra A Amin, Ila J Amin, and Seema M Amin

       Tennessee:           Miten Patel

       Texas:               Barbara VanOrder, Joel E Hercik, Jr., Rick G Smith, Anderson
                            Crosland, Deepak J Patel, Dirk Taylor, Peter Fantl, William L
                            Hutchinson, Kandis Hutchinson, Holly L Hutchinson, Rachel
                            Hutchinson, Tess Merriman, Harvey H Mueller, II, Stephen Summers,
                            Colin Santos, and Sarah Santos

According to Plaintiffs’ counsel, River Oaks Dunhill Investors, LLC also has a number of

members that are unincorporated entities:

                Sue A de Mille Revocable Trust
                Isaac Yomtoob SEP IRA
                Band Aid Partners
                Norlands LP
                Bruder C/P Family LP
                Mann Energy, LLC
                Skytop Investments Partnership LLC
                Flycatcher Equity LLC
                GWA Interests, LLC
                Primetime Capital LLC

Defendant IINA has sought definitive information from Plaintiffs as to the relevant constituents

and citizenships of each of these entities, but Plaintiffs have been unable to provide that detailed

information as of the time of this filing, so jurisdictional discovery as to these entities is needed.

Based on the information has been provided by Plaintiffs to IINA thus far, Plaintiff Café

Toulouse River Oaks District, LP is a citizen of Hawaii, North Carolina, South Carolina,

Tennessee, and Texas for purposes of determining diversity.




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       Defendant IINA believes that diversity jurisdiction exists here, because (1) none of the

corporate Plaintiffs are citizens of Pennsylvania and (2) Plaintiffs have not identified any

member of a plaintiff LLC or any partner of a plaintiff LP that is a citizen of Pennsylvania,

which is the only place of citizenship of the sole Defendant, IINA. As long as no plaintiff entity

is a citizen of Pennsylvania, there is complete diversity between the Plaintiffs and the Defendant.

       Since Defendant IINA is unable to determine the identity and citizenship of all of the

members of the plaintiff LLCs and the partners of the plaintiff LPs from public sources, and

since Plaintiffs have been unable to provide complete information on the constituents and

citizenships of all Plaintiff entities prior to the filing of this Notice, Defendant IINA requests

leave of court to conduct limited jurisdictional discovery in the form of interrogatories asking

Plaintiffs to set forth the identity and citizenship of the unincorporated plaintiff entities and any

other discovery the court deems necessary in order to confirm that full diversity of citizenship

exists. See Murchison Capital Partners, L.P. et al. v. Nuance Communications, Inc., Civ. No.

3:12-CV-4746-L, 2013 WL 3328694 (N.D. Tex. July 2, 2013) (granting leave to conduct

jurisdictional discovery to determine the citizenship of all plaintiffs, where the information was

not publicly available to the defendant and “Plaintiffs have refused to engage in voluntary

discovery and provide information in its possession and in its control”).

B.     All Procedural Requirements of Removal Have been Met

       1.      Timely Removal

       This Notice is timely filed pursuant to 28 U.S.C. § 1446(b)(1) as it is being filed within

30 days of Defendant IINA being served, which occurred on April 29, 2020.




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       2.      Consent

       Since IINA is the only defendant named in this action, no other defendant need consent to

removal pursuant to 28 U.S.C. § 1446(b)(2).

       3.      Proper Venue

       The United States District Court for the Northern District of Texas, Dallas Division,

embraces the County of Dallas, where the state court action is now pending. Therefore, this

Court is proper venue for this action pursuant to 28 U.S.C. §§ 124(a)(1) and 1441(a).

       4.      Notice of Filing

       In accordance with 28 U.S.C. § 1446(d), a true and correct copy of Defendant IINA’s

Notice of Removal will be filed with the District Clerk for the District Court of Dallas County

and served on all parties.

                                        Prayer for Relief

       WHEREFORE, Defendant prays that the action now pending in the 14th Judicial District

Court, Dallas County, Texas, as described herein be removed to the United States District Court

for the Northern District of Texas, Dallas Division.




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Dated: May 27, 2020



                                              /s/ Daniel McNeel Lane, Jr.
                                                  Daniel McNeel Lane, Jr.
                                                  State Bar No. 00784441
                                                  neel.lane@nortonrosefulbright.com
                                              Frost Tower
                                              111 W. Houston Street, Suite 1800
                                              San Antonio, TX 78205
                                              Telephone:     (210) 224-5575
                                              Facsimile:     (210) 270-7205

                                              ATTORNEYS FOR INDEMNITY INSURANCE
                                              COMPANY OF NORTH AMERICA




                               CERTIFICATE OF SERVICE

       This pleading, Notice of Removal of Defendant Indemnity Insurance Company of North

America, was served in compliance with Rule 5 of the Federal Rules of Civil Procedure by

electronic service, on May 27, 2020:


       Michael W. Huddleston
       Munsch Hardt Kopf & Harr, P.C.
       3800 Ross Tower
       500 North Akard Street
       Dallas, Texas 75201-7584
       mhuddleston@munsch.com



                                                       /s/ Daniel McNeel Lane, Jr.

                                                        Daniel McNeel Lane, Jr.




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      ClT/ESERVE
      CIT/ESERVE
   Case
      1
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                                                                                                                                                 DALLAS        00.,   TEXAS
                                                                                                                                                     Alicia   Mata   DEPUTY

                                                 DC-20-05751
                              CAUSE NO:


 LOMBARDI’S INC; LOMBARDI’S                                                                       IN   THE DISTRICT COURT 0F
                                                                                                                          OF
 FAMILY CONCEPTS, INC; PENNE
 SNIDER, LLC; PENNE PRESTON, LLC;
 ALBERTO LOMBARDI INTERESTS,
 LLC; TAVERNA DOMAIN AUSTIN, LP;
 CAFE TOULOUSE RIVER OAKS
               CAFE MONACO HPV,
 DISTRICT, LP; CAFE’
 LLC; PENNE LAKEWOOD, LLC;
 TAVERNA BUCKHEAD, LP; TAVERNA
 DOMAIN AUSTIN LP; TAVERNA
 AUSTIN, L.L.C.; TAVERNA FT. WORTH,
 LLC; TOULOUSE KNOX BISTRO, LLC;
 TAVERNA ARMSTRONG, L.L.C.;
 TOULOUSE DOMAIN AUSTIN, LP;
 BISTRO 31 LEGACY, LP; TAVERNA                      000mmmw:mmmmmmmmmmmmmmmmmmmmmm




 LEGACY, LP; TAVERNA BUCKHEAD,                      GO?00300300?WWWWDWWWDWWWDWWWDWWWDWWWDWWWDW




 LP; AND LOMBARDI’S 0F DESERT
 PASSAGE, INC.

          PLAINTIFFS,

 V.                                                                                               DALLAS COUNTY, TEXAS

 INDEMNITY INSURANCE COMPANY
 OF NORTH AMERICA,

          DEFENDANT.                                                                              _
                                                                                                 A-14TH JUDICIAL DISTRICT


                             PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW       Plaintiffs   Lombardi’s   Inc.;                                         Lombardi’s Family Concepts,      Inc.;    Penne

Snider,   LLC; Penne
               Penna   Preston,   LLC; Alberto Lombardi                                             Interests,   LLC; Taverna Domain       Austin,


LP; Café Toulouse River Oaks       District,   LP; Café Monaco HPV, LLC; Penne Lakewood, LLC;

Taverna Buckhead, LP; Taverna Domain Austin LP; Taverna Austin, L.L.C.; Taverna                                                     Ft.    Worth,


LLC; Toulouse Knox      Bistro,   LLC; Taverna Armstrong,                                              L.L.C.; Toulouse   Domain   Austin, LP;



PLAINTIFFS ORIGINAL PETITION                                                                                                                     1



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                                                                                                                          EXHIBIT A
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Bistro 31 Legacy, LP; Taverna Legacy, LP; Taverna Buckhead, LP; and Lombardi’s Of Desert

Passage, Inc., (collectively “Lombardi’s”) complain of Indemnity Insurance Company of North

America (“Chubb”) Defendant, as follows:

                               I.     DISCOVERY CONTROL P LAN

1.       Lombardi’s intends to conduct discovery under Level 3 of Texas Rule of Civil Procedure

190.4.

                                    II.     RULE 47 STATEMENT

2.       Lombardi’s seeks monetary relief of more than $1,000,000 in costs, expenses, pre-judgment

interest, and attorney fees.

                           III.     PARTIES, JURISDICTION & VENUE

3.       The Plaintiffs are:

         a.         Lombardi’s Inc., a corporation organized under Texas law and doing business in

                    Dallas County, Texas;

         b.         Lombardi’s Family Concepts, Inc., a corporation organized under Texas law and

                    doing business in Dallas County, Texas;

         c.         Penne Snider, LLC; Penne Preston, LLC; Alberto Lombardi Interests, LLC;

                    Taverna Domain Austin, LP; Café Toulouse River Oaks District, LP; Cafe Monaco

                    HPV, LLC; Penne Lakewood, LLC; Taverna Buckhead, LP; Taverna Domain

                    Austin, LP; Taverna Austin, L.L.C.; Taverna Ft. Worth, LLC; Toulouse Knox

                    Bistro, LLC; and Taverna Armstrong, L.L.C. each are limited liability companies

                    organized under Texas law and doing business in Dallas County, Texas;




PLAINTIFFS ORIGINAL PETITION                                                                     2

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         d.          Toulouse Domain Austin, LP; Bistro 31 Legacy, LP; Taverna Legacy, LP; and

                     Taverna Buckhead, LP each are limited partnerships organized under Texas law

                     and doing business in Dallas County, Texas; and

         e.          Lombardi's of Desert Passage, Inc. is a foreign corporation organized under Nevada

                     and doing business in Nevada.

4.       Defendant, Indemnity Insurance Company of North America ("Chubb"), is a foreign fire

and casualty insurance company domiciled in Pennsylvania and authorized by the Texas

Department oflnsurance to conduct insurance business in Texas. This suit arises out of insurance

business purposefully and continuously conducted with plaintiff in the State of Texas. Chubb may

be served with process in this suit by delivering citation to the following serving as its registered

agent at the following registered address: CT Corporation System, 1999 Bryan Street, Ste. 990,

Dallas, Texas 75201-3136.

5.       Jurisdiction is proper in the District Court of Dallas County, Texas because the amount in

controversy is within the jurisdictional limits of this court.

6.       Venue is proper in Dallas County pursuant to Texas Civil Practice and Remedies Code

§ 15.002 because the cause of action arises out of events that occurred in Dallas County and

pursuant to Texas Civil Practice and Remedies Code §15.053 because insured properties are

situated in Dallas County.




PLAINTIFFS ORIGINAL PETITION                                                                         3

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                                    IV.      FACTUAL BACKGROUND

7.         Chubb 1 entered into a contract of commercial property insurance with the Lombardi's

family of restaurants. 2 Lombardi's agreed to pay significant premiums in exchange for Chubb' s

promises of indemnify for losses, including but not limited to, business income losses at several

different locations ("the Insured Properties").

8.         The Insured Properties are covered under policy number MCRD38196169, which was

renewed for the June 30, 2019, to June 30, 2020, policy period ("the Policy"). Lombardi's fulfilled

all of their responsibilities under the insurance contract, dutifully paying hundreds of thousands of

dollars in premiums to Chubb over the years.

9.         The Policy has been continuously in full force and effect since inception, providing first-

party property, business personal property and business income, extra expense and additional

coverages.

10.        Chubb promised under the Policy to pay "for direct physical loss of or damage to Covered

Property at the premises described in the Declarations caused by or resulting from any Covered

Cause of Loss."

11.        The Insured Properties covered under the Policy are subject to a Business Income (and

Extra Expense) Coverage limit of $18,952,419. The Policy provides "all risks" insurance.

12.        A pneumonia of unknown origin was first reported to the World Health Organization

("WHO") on December 31, 2019. China provided the genetic sequence for what has become

known as the 2019 Novel Coronavirus (2019-nCoV) on or about January 12, 2020. The WHO


1
  Indemnity Insurance Company is part of the Chubb Group of Companies. "Chubb N.A. Claims" handled the
adjusting on behalf of Indemnity, what little there was, on Lombardi's claim. "Chubb" is stamped in numerous places
on the policy. In the April 3, 2020, denial letter, the Chubb N.A. adjuster used "Chubb" as the shorthand or
synonymous reference to Indemnity Insurance Company of North America.
2
    The Policy was a commercial package policy including both commercial property and general liability coverage.

PLAINTIFFS ORIGINAL PETITION                                                                                        4

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recognized on January 25, 2020, that the 2019 Novel Coronavirus is a “global threat to human

health . . . .” On January 30, 2020, the Director of WHO declared the 2019 Novel Coronavirus

“outbreak a Public Health Emergency of International Concern.” The disease caused by the 2019

Novel Coronavirus was identified as “COVID-19” on February 11, 2020. On March 11, WHO

characterized COVID-19 as a pandemic. WHO saw “alarming levels of spread and severity, and

by the alarming levels of inaction.” WHO representatives stated: “Pandemic is not a word to use

lightly or carelessly . . . We have never before seen a pandemic sparked by a coronavirus. This

is the first pandemic caused by a coronavirus. And we have never before seen a pandemic that can

be controlled, at the same time.” (Emphasis added.) The pandemic spread from China to

surrounding countries and then to Italy, Iran, Spain and across the globe.

13.     The Center for Disease Control (“CDC”) has stated that a “pandemic is a global outbreak

of disease. Pandemics happen when a new virus emerges to infect people and can spread between

people sustainably. Because there is little to no pre-existing immunity against the new virus, it

spreads worldwide.”

14.     On January 31, 2020, President Trump signed the Presidential Proclamation on Suspension

of Entry as Immigrants and Nonimmigrants of Persons who Pose a Risk of Transmitting 2019

Novel Coronavirus (the First Proclamation), suspending the entry of all aliens (i.e., non-citizens)

who were physically present within the People’s Republic of China (excluding the Special

Administrative Regions of Hong Kong and Macau) during the 14-day period preceding their

attempted entry into the United States. On February 29, 2020, President Trump signed the

Presidential Proclamation on the Suspension of Entry as Immigrants and Nonimmigrants of Certain

Additional Persons Who Pose a Risk of Transmitting Coronavirus (the Second Proclamation),

suspending the entry of all aliens who were physically present within the Islamic Republic of Iran


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during the 14-day period preceding their attempted entry into the United States. On March 11,

2020, President Trump signed the Presidential Proclamation on Suspension of Entry as Immigrants

and Nonimmigrants of Certain Additional Persons Who Pose a Risk of Transmitting 2019 Novel

Coronavirus (the Third Proclamation), resulting in a travel ban and of the entry of all aliens who

were physically present in any of the 26 European countries that make up the Schengen Area during

the 14-day period preceding their attempted entry into the United States. The Schengen Area

included: Austria, Belgium, Czech Republic, Denmark, Estonia, Finland, France, Germany,

Greece, Hungary, Iceland, Italy, Latvia, Liechtenstein, Lithuania, Luxembourg, Malta,

Netherlands, Norway, Poland, Portugal, Slovakia, Slovenia, Spain, Sweden and Switzerland.

15.     On March 12, 2020, the Mayor of Dallas “declared a local state of disaster” for the City of

Dallas resulting “from the COVID-19 Pandemic” and issued an order prohibiting public gatherings

of more than 500 people. Texas Government Code Section 418.108 authorizes the Mayor to order

the evacuation of all or part of the population from a stricken or threatened area under the

jurisdiction and authority of the Mayor if the Mayor considers the action necessary for the

preservation of life or other disaster mitigation, response or recovery. Section 418 further

authorizes the Mayor to control ingress to and egress from a disaster area under the jurisdiction

and authority of the Mayor and control the movement of persons and the occupancy of premises

in that area. Moreover, the Mayor’s initial order and all subsequent orders note that Section 14B-

7 of the Dallas City Code authorizes the City Manager to "promulgate such regulations as he or

she deems necessary to protect life and property and preserve critical resources" while a state of

disaster is in effect. (Emphasis added.)

16.     On March 12, 2020, under authority of Texas Government Code section 108, Dallas County

Judge Clay Jenkins issued a DECLARATION OF LOCAL DISASTER FOR PUBLIC HEALTH


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EMERGENCY. The Declaration noted that WHO had declared a world-wide pandemic. The

Declaration stated that "a local state of disaster for public health emergency is hereby declared for

Dallas County, Texas, pursuant to section 418.108(a) of the Texas Government Code." Also on

March 12, 2020, Judge Jenkins issued an order stating: "The virus that causes 2019 Coronavirus

Disease (COVID-19) is easily transmitted through person to person contact, especially in group

settings, and it is essential that the spread of the virus be slowed to protect the ability of public

and private health care providers to handle the influx of new patients and safeguard public health

and safety." (Emphasis added.) Accordingly, community gatherings of more than 500 were

prohibited. 3

17.      On March 14, 2020, President Trump signed the Proclamation on the Suspension of Entry

as Immigrants and Nonimmigrants of Certain Additional Persons Who Pose a Risk of Transmitting

Coronavirus (the Fourth Proclamation), further suspending the entry of all aliens who were

physically present in the United Kingdom (excluding overseas territories outside of Europe) or the

Republic oflreland during the 14-day period preceding their attempted entry into the United States.

18.      Four days later, on March 16, 2020, an Amended Order was issued by the County of Dallas.

This order barred public, private or community gatherings of more than fifty. It also provided:

"Restaurants with or without drive-in or drive-through services and microbreweries, micro-

distilleries, or wineries may only provide take out, delivery, or drive-through services as allowed

by law."




3
  Similar orders were entered in Georgia and Nevada, the locations of two of the Lombardi's Plaintiffs, declaring
emergencies and setting forth orders for how the states were going to respond to the pandemic. These orders also noted
the extreme risk, pointing out that there is a correlation between the density of persons gathered and transmission of
the virus. The Georgia Order (010) emphasized that "proximity to other persons is currently contraindicated by public
health and medical best practices to combat" the spread of COVID-19.

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19.     An Amended Order by the City of Dallas was also entered March 16, 2020, prohibiting

access and use of any premises operated as dine-in restaurants, but allowing operation only as

regulated take-out services. The Amended Dallas City Order further provided that “[t]he owner,

manager, or operator of any facility that is likely to be impacted by these regulations shall post a

copy of these regulations onsite and visible to users of the facility and provide a copy to any user

of the facility asking for a copy.”

20.     On March 18, 2020, Dallas County issued another Amended Order. This Order noted: “On

March 16, 2020, President Trump acknowledged the gravity of the COVID-19 pandemic, releasing

strict new guidelines to limit people’s interactions, including that Americans should avoid groups

of more than 10 people.” The March 18th Amended Dallas County Order prohibited “Public or

private Recreational Gatherings and Community Gatherings.” It further ordered that “[b]ars,

lounges, taverns, private clubs, arcades, and gyms shall close.”

21.     On March 20, 2020, Governor Greg Abbott announced that the U.S. Small Business

Administration (SBA), at his request, had included the entire state of Texas in its Economic Injury

Disaster Declaration. The Governor’s request for inclusion in this Declaration was based on

economic losses being suffered across Texas Related to major event cancellations, loss of walk-in

customers, depletion of stock from suppliers, and client cancellations. "The overriding message of

this time in history is that we are all in this together," said Governor Abbott. "From people

responsibly remaining at home to protect themselves and their communities to the small businesses

adapting to serve them, Texans are showing their willingness to serve the greater good and that’s

why we’ll overcome this together. That’s what Texans do. We are not only Texas Strong, we are

#TexasBizStrong."




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22.     On March 24, 2020, the World Health Organization indicated that the United States had

the potential to become the center of the COVID-19 pandemic. Also on March 24, 2020, Dallas

County issued is Stay Home Stay Safe Order, requiring those living in Dallas County to shelter at

their residence. Only essential businesses were allowed to continue to operate.

23.     On March 29, 2020, Dallas County issued another Amended Order, again recognizing:

“[I]t is essential that the spread of the virus be slowed to protect the ability of public and private

health care providers to handle the influx of new patients and safeguard public health and safety.

Because of the risk of the rapid spread of the virus, and the need to protect the most vulnerable

members of the community, this Order requires all individuals anywhere in Dallas County to

shelter in place – that is, stay at home – except for certain essential activities and work to provide

essential business and government services or perform essential public infrastructure construction,

including housing.” (Emphasis added.)

24.     Dallas County issued an Amended Order on April 6, 2020, continuing the extraordinary

rules and regulations previously adopted. This Amended Dallas County Order stated:

        WHEREAS, this Emergency Order is necessary because of the propensity of the
        virus to spread person to person and also because the virus is physically causing
        property damage due to its proclivity to attach to surfaces for prolonged periods of
        time;

        WHEREAS, this Emergency Order is necessary to protect the lives, health, welfare,
        and safety of the County’s residents from the devastating impacts of this pandemic
        ....

The Amended Dallas County Order further provides as to Restaurants:

        Restaurants. Restaurants with or without drive-in or drive-through services and
        microbreweries, micro-distilleries, or wineries may only provide take out, delivery,
        or drive-through services as allowed by law. In-person service is prohibited.
        Customers may order and pay inside, but are prohibited from waiting inside the
        restaurant for their food. All food must be brought outside to customers. To allow
        for increased access to restaurants, this Order hereby suspends all laws and
        regulations prohibiting people from walking in a drive-through.

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(Emphasis added.)

25.     As of April 11, 2020, all 50 states as well as the U.S. Virgin Islands, the Northern Mariana

Islands, Washington, D.C., Guam and Puerto Rico have received a federal disaster declaration as

a result of the pandemic. American Samoa is the only U.S. territory that is not under a major

disaster declaration.

26.     On March 16, 2020, prior to submitting any claim, Lombardi’s insurance agent represented

to Lombardi’s that Chubb had been asked how BI [business interruption] might respond in

connection with the restaurant program in which Lombardi’s was insured, and the response was

that “Chubb [was] having high level discussions and we are awaiting their direction.”

27.     Lombardi’s provided a notice of a claim under the Policy and other policies in connection

with the recent events involving the 2019 Novel Coronavirus pandemic on March 17, 2020. Chubb

acknowledged the notice was received on March 18, 2020.

28.     On March 18, 2020, the same day notice was provided, Chubb adjuster Jennifer Dixon

informed Lombardi’s in a telephone call that Chubb was going by the “black and white” written

word in the Policy and that there were no physical damages to cause the payment of a business

interruption claim. No other basis for this preemptive and pre-textual denial was provided.

29.     On March 19, 2020, the Chubb adjuster informed Lombardi’s by telephone that Chubb

would be drafting a reservation of rights letter to send to Lombardi’s. The adjuster said this letter

would state the claim was under investigation and was ongoing and that this would not be a hard

“no.” She stated the letter would look like a declination letter, and it would outline what parts of

Lombardi’s policy were under review/investigation and might be used to deny coverage at some

point. She advised that this allowed Chubb to keep the claim open with the opportunity to learn

of changes that would allow them to pay the claim.

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30.      On March 24, 2020, Lombardi's emailed a letter to Chubb stating:

         We strongly disagree with the approach Chubb has taken to regarding this claim.
         Just a few hours after it was submitted, you made very clear in a phone conversation
         ... there was no physical damage to ... property. You stated that Chubb was strictly
         following the letter of the contract. Then, the next day you said Chubb would be
         issuing a reservation of rights letter that would look like a declination letter. Clearly,
         Chubb is denying for now, and the reservation is a tool for Chubb to try and keep
         the claim open in the event it sees something that might change its mind.

         Your insured is less than twenty-four hours from having to let go of over 700
         employees. We do not have a week or ten days to wait to see what Chubb's position
         is. You have obviously as a company been working on these issues in anticipation
         of such claims. You noted all of these letters, being sent to insureds across the
         country, were a part of a Chubb special review process for these events.

Lombardi's received no acknowledgement or response to this letter.

31.      On April 6, 2020, Chubb finally provided its coverage position letter. It was not a "soft"

reservation of rights as promised. It was "hard" denial. The letter contained several blatant

misrepresentations:

               •     "Indemnity Insurance Company ofNorth America ("Chubb") has completed its
                     factual investigation .... "

                        o   Chubb made no request to Lombardi's for documents or information
                            relating to the claim.

                        o   Chubb denied on the same day the claim was presented and could not
                            have done a proper or thorough investigation.

               •     "There is no information supporting any direct physical loss or damage has
                     occurred that caused such orders to be issued."

                        o   Chubb misstates the terms of the Policy. The Policy actually states: "We
                            will pay for direct physical loss !![or damage to Covered Property .... "
                            (Emphasis added. The same requirement is stated in the Business
                            Interruption insuring agreement.) Chubb rewrote the policy to try to
                            make it look like only a physical impact or change to the property was
                            covered and would permit coverage for business income loss. At the very
                            least, Lombardi's suffered a physical loss of the covered property as a
                            result of actions taken to limit the impact of the pandemic on the health
                            care system. Further, Lombardi's clearly suffered a loss of use of


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                         Covered Property because was unable to operate and use the restaurant
                         for in-person dining.

                     o   This same deliberate and significant omission has been used by Chubb
                         in hundreds of letter notifications regarding its position on coverage
                         provided to policyholders in the State of New York. These coverage
                         position statements were issued by Chubb in response to an order of the
                         New York Department of Financial Services to provide policyholders
                         with detailed information regarding Chubb' s position regarding the
                         various types of policies written in that state in connection with the 2019
                         Novel Coronavirus.

                     o   Chubb wrongly suggests that "independent adjusters or experts" were
                         retained by it to investigate and adjust the claim when there 1s no
                         evidence that any investigation was actually undertaken.

                     o   Chubb states: "[I]t is our understanding that governmental authorities
                         ordered the captioned premises to reduce occupancy and subsequently
                         close as a precaution to prevent the spread of the COVID-19 virus."
                         (Emphasis added.) The orders prohibited any occupancy for in-person
                         dining. Moreover, Chubb's statement admits the widespread nature of
                         the pandemic and that the threat it presents requires prohibiting the use
                         of the insured property. This is clearly a loss of the property that is caused
                         by a pandemic and the need to protect the health system and the
                         community.

                     o   Chubb relies alternatively on the EXCLUSION OF LOSS DUE TO
                         VIRUS OR BACTERIA as a basis for denial even though it was not a
                         stated basis in Chubb' s initial denial. Contrary to Chubb' s assertion, this
                         is not a pandemic exclusion. Chubb ignores the fact that the exclusion
                         states that it applies only where a virus, that is a microorganism, is the
                         fully realized and actual cause of the loss. It does not state that it applies
                         to a loss caused by the need to prevent against the threat of viral
                         transmission.

                                  V.      CAUSES OF ACTION

A.       Breach of Contract

32.      The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.




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33.     Lombardi’s has satisfied and performed all applicable terms and conditions of the Policy.

Alternatively, Chubb has waived any such term or condition and may not assert any term or

condition in the Policy as a defense to liability thereunder.

34.     The pandemic and health care crisis has resulted in the Plaintiffs suffering a physical

loss of the insured properties, and alternatively damage to the insured properties and suspension

of their businesses that are covered under the business income loss (and extra expense)

provisions of the Policy. Alternatively, coverage is available under civil authority coverage

under the Policy.

35.     The Exclusion of Loss Due to Virus or Bacteria has no application to the Lombardi’s

claims in light of its plain language. Alternatively, the exclusion is ambiguous and must be

construed in the light most favorable to Lombardi’s. Contrary to the assertions of Chubb, this

exclusion is not a pandemic exclusion.

36.     Chubb is estopped and/or has waived the right to rely on the exclusion as a result of its

premature and limited denial of coverage.

37.     Chubb failed to give proper notice and disclosure of the presence of the exclusion and is

thus barred from reliance upon it.

38.     On information and belief, Chubb is barred from relying on the exclusion as a result of

regulatory and/or administrative estoppel.

39.     Alternatively, the exclusion as interpreted by Chubb is unconscionable and/or contrary

to public policy and cannot be enforced as written.

40.     Lombardi’s operations remain suspended as a result of the threat presented by the current

circumstances.




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41.     Chubb has breached the contract by its wrongful denial, causing delay and/or loss of

receipt of the policy benefits and additional actual and/or consequential damages.

42.     Chubb is entitled to recovery of attorney’s fees incurred in the prosecution of these

claims. TEX. CIV. PRAC. & REM CODE §38.001(8).

B.      Breach of The Duty of Good Faith and Fair Dealing

43.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

44.     A special relationship exists and continues to exist between Chubb and the Plaintiffs as

a result of the first-party insurance policy issued by Chubb. Inherently unequal bargaining

power exists between Lombardi’s and Chubb.

45.     Chubb had no reasonable basis for denying or delaying payment of Lombardi’s claims

and it knew or should have known that it had no reasonable basis for denial. Chubb considered

only its own interests, proceeded only according to its one-sided and self-serving interpretation

of the Policy, and attempted to conceal from Lombardi’s that Chubb in fact made no effort to

consider Lombardi’s interests. Chubb pre-textually looked only for ways to avoid coverage

rather than first trying to find coverage.

46.     Chubb had a duty to investigate the claims fairly and objectively but it clearly failed to

make any attempt to do so. Nonetheless, it is deemed to have it is charged with full and complete

knowledge of what a reasonable investigation would have revealed, and its actions must be

judged accordingly.

47.     Accordingly, Chubb failed to attempt in good faith to effectuate a prompt, fair and

equitable settlement of a claim where its liability had become reasonably clear.




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48.     Chubb’s breach of the duty of good faith and fair dealing proximately caused actual and

consequential damages to the Plaintiffs.

C.      Punitive Damages

49.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

50.     Chubb’s breach of the duty of good faith was malicious and/or grossly negligent and

therefore supports an award of punitive damages. Chubb was directly informed of and had actual

knowledge of the grievous damages and extraordinary harm that would be caused by breach of

its duty of good faith in the event of a wrongful denial of coverage.

D.      Violation of Texas Prompt Pay Act

51.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

52.     Chubb has failed to timely and promptly pay as required under TEX. INS. CODE §§

542.055-542.059.

53.     Chubb should be ordered to pay “in addition to the amount of the claim, interest on the

amount of the claim at the rate of 18 percent a year as damages, together with reasonable and

necessary attorney’s fees. Nothing in this subsection prevents the award of prejudgment interest

on the amount of the claim, as provided by law.” TEX. INS. CODE sec. 542.060(a).

54.     The Plaintiffs were forced to retain the services of an attorney and law firm to represent

them with respect to their claims against Chubb because of Chubb’s wrongful acts or omissions.

Id. at sec. 542.060(b).

                              VI.    JURY TRIAL DEMANDED

55.     Plaintiffs demand a jury trial and tenders the appropriate fee with this petition.


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                            VII.    WRITTEN DISCOVERY REQUESTS

56      Pursuant to Rule 194, Defendant is hereby requested to disclose the information or

material described in Rule 194.2 (a)-(1) within fifty (50) days of the service of this request.

Additionally, under Texas Rules of Civil Procedure 196, 197, 198 and 193.3 (b), Plaintiffs

request that within fifty (50) days of service of this request that Chubb respond to Plaintiffs’

First Request for Production and Request for Privilege Log, made a part of this petition as

Exhibit “A.”

                     VIII. INTENT TO USE DEFENDANT’S DOCUMENTS

57.      In accordance With Texas Rules of Civil Procedure 193.7, any documents produced

by Defendant in response to written discovery will be used by Plaintiffs at any pre-trial

proceeding or trial.

                                            IX.     PRAYER

58.     The Plaintiffs pray that Chubb be served with process and appear herein and that, upon

final hearing hereof, this Honorable Court enter a judgement for Plaintiffs awarding the

following relief:

        a.          Actual and consequential damages for Chubb’s breach of contract;

        b.          Actual damages for Chubb’s breach of the duty of good faith and fair dealing;

        c.          Punitive damages for Chubb’s grossly negligent and/or malicious violations of

                    the duty of good faith and fair dealing;

        d.          An 18% penalty under TEX. INS. CODE section 542.060 et seq.;

        e.          Reasonable and necessary attorney’s fees and costs;

        f.          Pre-judgment and post-judgment as allowed by law;




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         g.          Such other and further relief as is equitable and just, both at law and in equity, as

                     Plaintiffs may, at the time of trial, show themselves justly entitled.

                                                           Respectfully submitted,

                                                           Isl Michael W Huddleston
                                                           Michael W. Huddleston
                                                           Texas State Bar No. 1048415
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                                              Exhibit A

                     PLAINTIFFS' FIRST REQUEST FOR PRODUCTION

Pursuant to Rule 196 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiffs serve the
following requests for Production of Documents on Defendant. Defendant is requested to
respond fully, in writing, and in accordance with TRCP 196. The documents requested are to
be produced to Plaintiffs' counsel Within fifty (50) days after service of this request. You are
further advised that you are under a duty to reasonably supplement your answer. Finally,
Plaintiffs demand a privilege log identifying any documents withheld on the basis of privilege
and that Defendant identify the privilege relied upon.

NOTE: For each separately numbered request below please delineate each set of documents
     so that it can be easily ascertained which documents Relate to which numbered request.

                                           DEFINITIONS

         The following terms have the following meanings, unless the context requires otherwise:

1.       Parties. "Plaintiffs" mean each and every one of the parties identified in paragraph 3 of
         the Original Petition filed in this cause. "Defendant" means a party's full or abbreviated
         name or pronoun referring to the defendant and Chubb's designated claim-handler and/or
         adjuster, Chubb N.A., and Chubb's agents, representatives, officers, directors, employees,
         partners, corporate parent, subsidiaries, and affiliates.

2.       You, Your, and Yours. "You", "Your", and "Yours" as used herein mean Chubb and its
         designated agents for handling the claim, Chubb N.A., and Chubb's agents, employees,
         affiliates, representatives, attorneys, experts, and other persons acting or purporting to act
         on behalf of Defendant.

 3.      Person. "Person" means any natural person, a business, a legal or governmental entity, or
         an association.

4.       Document. "Document" means all writings of every kind, source and authorship, both
         originals and all non-identical copies thereof, in your possession, custody or control, or
         known by you to exist, irrespective of whether the writing is intended for or transmitted
         internally by you or intended for or transmitted to any other person or entity, including
         without limitation any governmental agency, department, administrative, or private entity
         or person. The term shall include handwritten, type-written, printed, photocopied,
         photographic or recorded matter. It shall also include all non-identical copies (whether
         different from originals by reason of notations made on such copies or otherwise) of all
         writings; recordings; papers; brochures; circulars; advertisements; letters; memoranda;
         minutes; notes or records of meetings; reports; comments; affidavits; statements;
         summaries; messages; worksheets; notes; correspondence; surveys; interviews; diaries;
         calendars; appointment books; registers; travel records; tables; calculations; books of
         account; budgets; bookkeeping or accounting records; telephone records; stenographic
         notes; financial data; receipts; financial statements; annual reports; accountants' work
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         papers; analyses; forecasts; statistical or other projections; newspaper articles; press
         releases; publications; tabulations; graphs; charts; maps; telegrams; books; agreements;
         opinions or reports of experts; records or transcripts of conversations, discussions,
         conferences, meetings, or interviews, whether in person or by telephone or by any other
         means; stored information from computers or other information retrieval or storage
         systems, databases, or media (including printouts of such information); magnetic tapes;
         belts and discs; electronic mail; electronic or digitized material; microfilm; microfiche;
         photographs; sound reproductions; all drafts and preliminary copies of any of the
         foregoing; and all other forms or types of written or printed matter or tangible things on
         which any words, phrases, or numbers are affixed, however produced or reproduced and
         wherever located, including all duplicates of any of the foregoing which are in Your
         possession, custody, or control. It shall include photographs, sound recordings, films, tapes
         and information stored in or accessed through a computer or other information storage or
         retrieval systems, together with the codes and/or programming instructions and other
         materials necessary to understand and use such systems, emails or other electronic
         correspondence, text messages and all other writings, the contents of which Relate to
         discuss, consider or otherwise refer to the subject matter of the particular discovery
         requested. "Document" shall also include all electronic data and electronically stored
         information with software to access such data and information, including but not limited
         to all electronic files stored on computer disk, diskette, hard drive, flash drive, any
         electronic storage device or any other computer medium whatsoever.

5.       Electronically stored information. The term "electronically stored information" means
         electronic information that is stored in a medium from which it can be retrieved and
         examined. It includes, but is not limited to, all electronic files that are electronically stored.

         a.          "Electronic file" includes, but is not limited to, the following: voice-mail messages
                     and files; email messages and files; text messages and files; deleted files; temporary
                     files; system-history files; Internet- or web-browser-generated information stored
                     in textual, graphical, or audio format, including history files, caches, and cookies;
                     and computer-activity logs. Unless otherwise defined, each example to illustrate
                     the term "electronic file" will have the meaning assigned to it by the Sedona
                     Conference Glossary.

         b.          "Electronic information system" refers to a computer system or network that
                     contains electronic files and electronic storage. Unless otherwise defined, each
                     sample used to illustrate the term "electronic information system" will have the
                     meaning assigned to it by the Sedona Conference Glossary.

         c.          "Electronic storage" refers to electronic files contained on magnetic, optical, or
                     other storage media, such as hard drives, flash drives, DVDs, CDs, tapes, cartridges,
                     floppy diskettes, smart cards, or integrated-circuit cards (e.g., SIM cards). Unless
                     otherwise defined, each example used to illustrate the term "electronic storage" will
                     have the meaning assigned to it by the Sedona Conference Glossary.



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6.       Tangible thing. "Tangible thing" means a physical object that is not a document or
         electronically stored information.

7.       Communication. "Communication" or "Communications" means any oral or written
         utterance, notation or statement of any nature whatsoever, exchange by words of thoughts
         or ideas to another person, whether person-to-person, in a group, in a meeting, by
         telephone, by letter, by email, text, SMS and MMS messaging, push notifications, in-app
         messages, RCS, by facsimile, or by any other process, electronic or otherwise, including
         without limitation any tape recordings or any writings, printed, typed, handwritten or other
         readable correspondence, facsimiles, memoranda, reports, contracts, diaries, logbooks,
         minutes, notes, studies, surveys and forecasts, including any electronically-stored
         information.

8.       Relating/Relate/Related. "Relating" and/or "Relate" snd/or "related" means containing,
         concerning, arising out of (whether directly or indirectly), involving, consisting of,
         referring to, supporting, prepared in connection with, used in preparation for, commenting
         upon, embodying, summarizing, describing, recording, mentioning, or being in any way
         legally, logically, or factually connected with or pertaining to, in whole or in part, the
         matter discussed.

9.       Any. The term "any" should be understood in either its most or least inclusive sense as
         necessary to bring within the scope of the discovery request all responses that might
         otherwise be construed to be outside of its scope.

10.      And & Or. The connectives "and" and "or" should be construed either disjunctively or
         conjunctively as necessary to bring within the scope of the discovery request all responses
         that might otherwise be construed to be outside of its scope.

11.      Number. The use of the singular form of any word includes the plural and vice versa.

12.      Policy. "Policy" means Chubb Policy number MCR D38196169 issued to Lombardi's.

13.      Claims. "Claim" means all claims by Lombardi's for coverage under the Policy.

14.      ISO. "ISO" means the Insurance Services Office, Inc., its predecessors, and specifically
         includes, but is not limited to the Insurance Rating Board or "IRB"; the National Bureau
         of Casualty Underwriters, or "NBCU"; and the Mutual Insurance Rating Bureau, or
         "MIRB."

                                         INSTRUCTIONS

1.       Where a Document is requested, the request includes Documents in Your possession,
         custody, or control or in the possession, custody, or control of Your present or former
         employees, directors, officers, attorneys, representatives, agents, and other Persons under
         Your control who are reasonably likely to have Documents responsive to the request. Any
         described Document that is not in your immediate physical or electronic possession, but

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         with regard to which you have a right to compel production from a third person or which
         is otherwise subject to your control, shall be obtained and produced as directed.

2.       If you withhold production of any documents based on a claim of privilege, or for any other
         reason, please identify the documents withheld and state the basis of your privilege claim.

3.       The selection of Documents from files and other sources shall be performed in such a
         manner as to ensure that the file or other source from which a Document is obtained may
         be identified.

4.       Documents attached to other Documents or material shall not be separated unless sufficient
         records are kept to permit reconstruction of the grouping.

5.       You are requested to produce electronic and magnetic data responsive to all requests below,
         whether or not specifically included in the request, and to produce all such data in hard
         copy form, except for tape or other audio or video recordings, which should be produced
         in their original format.

                                   REQUESTS FOR PRODUCTION

REQUEST NO. 1: Claims information, including any and all materials, Documents, notations,
files, daily reports or claim logs or diaries, reports, correspondence, drafts of correspondence or
other Documents, supervisory or over-files or shadow-files (whether in hard copy or tangible form
or electronically stored), and/or Communications Related to Plaintiffs' Claim for coverage,
including but not limited to any and all investigative Communications, material or Documents.
This request also includes Communications, materials, Documents, notations, files, reports,
correspondence and/or other Communications Related to Plaintiffs' Claim for coverage that are
maintained by or in the possession of Your agents and employees that may not be part of or
contained in an official or formal claims file.

REQUEST NO. 2: Any and all Documents and Communications in any way involving
independent adjusters or experts retained by Chubb in connection with the handling or adjustment
of the Claim.

REQUEST NO. 3: A complete copy of the Policy, including all amendments and renewals or
amendments that have been made at any time to same.

REQUEST NO. 4: Underwriting Documents and Communications, including but not limited to,
any and all materials, Documents, notations, files, reports, correspondence and/ or other
Communications Related to Plaintiffs' application/s for coverage, binders, proposals, and the
issuance of the Policy, including all renewals thereof. This request also includes materials,
Documents, notations, files, reports, correspondence and/or other Communications Related to the
determination and/or method for determining the forms and endorsements to be used in creating
the Policy. This request also includes information regarding the basis for rating and premium
classifications used for Lombardi's. Finally, this request includes any internal Communications or


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guidelines regarding the handling and/or coverage positions of Chubb regarding business
interruption and other claims Related to the 2019 Novel Coronavirus and/or COVID-19.

REQUEST NO. 5: As to each policy provisions that You contend in your denial letter of April
3, 2020, limits or bars coverage for Plaintiffs for the subject Claim, any and all Documents
reflecting drafting history of each provision, including changes in policy language and any and all
materials, Documents, notations, files, reports, correspondence and/ or other Communications
Related to actual or proposed changes in policy language.

REQUEST NO. 6: Any and all Documents, reports, memos, correspondence and/or other
documentation or Communications reflecting Your guidelines, procedures, or policies that serve
as criteria for evaluating whether claims are implicated, covered, or excluded by any policy
provisions that You contend limits or bars coverage for Plaintiffs for the subject Claim. This
request is limited to the last five (5) years preceding the filing of this suit.

REQUEST NO. 7: Any and all Documents, reports, memos, correspondence and/or other
documentation or Communications reflecting Your guidelines, procedures, or policies that serve
as criteria for evaluating whether claims are implicated, covered, or excluded by any policy
provisions that You contend limit/s or bar/s coverage for Plaintiffs for the subject Claim. This
request is limited to the last five (5) years.

REQUEST NO. 8: Any and all materials, handouts, manuals, outlines, articles, Communications
and/or Documents used or relied upon by You in any way to conduct any meetings, webinars,
seminars and/or any other form of instruction or formal or informal continuing education for Your
employees and/ or independent adjusters regarding or pertaining in any way to (a) the adjusting
and/or handling of first-party claims under Texas law and/or (b) the handling claims relating to the
recent pandemic and/or mentioning the 2019 Novel Coronavirus and/or COVID-19. This request
is limited to the last five (5) years preceding the filing of this suit..

REQUEST NO. 9: Any and all Documents, reports, memos, correspondence and/or other
documentation or Communications provided to any expert You designate in this litigation.

REQUEST NO. 10: Any and all Documents reflecting the drafting history, intent and/or
regulatory submission and approval or disapproval of regarding the EXCLUSION OF LOSS DUE
TO VIRUS OR BACTERIA (CP 014007 06), including changes in policy language and any and
all materials, documents, notations, files, reports, correspondence and/ or other Communications
Related to actual or proposed changes in policy language.

REQUEST N0.11: Any and all Documents and/or Communications from Chubb or any parent,
subsidiary or affiliated entities to any third-party, including but not limited to insurance agents and
brokers, marketing and/or public relations firms, at any time after December 15, 2020, and relating
in any way to coverage or exclusions or denials of coverage for civil authority or for business
interruption or business income loss and/or commercial property coverage mentioning or
referencing the 2019 Novel Coronavirus, the pandemic, and/or COVID-19.



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REQUEST NO. 12: Any and all Documents and/or Communications with any third-party
regarding coverage or exclusions or denials of coverage for commercial property claims, including
business interruption and civil authority coverage, mentioning or referencing the 2019 Novel
Coronavirus, the pandemic, and/or COVID-19.

 REQUEST NO. 13: Any and all Documents and Communications from or relating to or
concerning ISO and the EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA (CP 01 40 07
06 and/or CP 01 75 07 06). This request includes Documents and/or Communications relating to
the drafting, creation, revision, or analysis of any ISO Insurance Policy forms, terms, or provisions
involving the EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA (CP 01 40 07 06 and/or
CP 01 75 07 06) and/or any other similar provision, definition, exclusion or endorsement.

REQUEST NO. 14: All Documents and Communications, including explanatory memoranda,
relating to the filing with or submission to any regulator, insurance department, commission or
agency of any State in the United States or in the District of Columbia relating to the approval or
consideration by that department, commission, or agency of any ISO Insurance Policy forms,
terms, or similar provisions such as or Related to the EXCLUSION OF LOSS DUE TO VIRUS
OR BACTERIA (CP 01 40 07 06 and/or CP 01 75 07 06) and/or any other similar provision,
definition, exclusion or endorsement. Communications with ISO in connection with the drafts.

REQUEST NO. 15: Any and all Documents and/or Communications with ISO or any other
insurance company or adjusting company relating to (a) the EXCLUSION OF LOSS DUE TO
VIRUS OR BACTERIA (CP 014007 06 and/or CP 01 75 07 06), (b) other endorsements filed to
address exclusion of loss due to virus or bacteria and/ or any other similar provision, definition,
exclusion or endorsement, and/or (c) the ISO Circular dated July 6, 2006, and/or any other Circular
of ISO generated document relating to the EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP 014007 06 and/or CP 017507 06), new endorsements filed to address exclusion
of loss due to virus or bacteria and/or any other similar provision, definition, exclusion or
endorsement.

REQUEST NO. 16: Any and all Documents and/or Communications with ISO or anyone else
relating to the filing of CF-2006-0VBEF in any ISO jurisdictions and recommendations regarding
the filing to the independent bureaus in other jurisdictions.

REQUEST NO. 17: Any and all Documents relating to filing/s . and/or recommendations
relating to CF-2006-0VBEF and/or the EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP 014007 06 and/or CP 01 75 07 06).

REQUEST NO. 18: Any and all Documents and/or Communications relating to the
determination or relationship of ratings and CF-2006-0VBEF and/or the EXCLUSION OF LOSS
DUE TO VIRUS OR BACTERIA (CP 01 40 07 06 and/or CP 01 75 07 06), including any
Documents and/or Communications relating to ratings software or the impact on ratings software.

REQUEST NO. 19: Any and all Documents and/or Communications relating to any ISO circular
relating to CF-2006-0VBEF and/or the the EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP 01 40 07 06 and/or CP 01 75 07 06), including but not limited to any rules

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revisions relating to CF-2006-0VBEF and/or the EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP 014007 06 and/or CP 01 75 07 06).

REQUEST NO. 20:             Any and all materials, handouts, manuals, outlines, articles,
Communications and/or Documents relating to the use of notification forms such as ALL-38009
(02/13) and/or any similar forms.

REQUEST NO. 21: Any materials, handouts, manuals, outlines, articles, Communications
and/or Documents regarding when insureds are to be given notice of a particular exclusion being
included in a policy.

REQUEST NO. 22:             Any and all materials, handouts, manuals, outlines, articles,
Communications and/or Documents relating to requirements of the Texas Department of
Insurance that certain exclusions or limitations in a policy be pointed out to policyholders.

REQUEST NO. 23:             Any and all materials, handouts, manuals, outlines, articles,
Communications and/or Documents referencing requirements of any insurance regulatory
department, commission or authority that certain exclusions or limitations in a policy be pointed
out to policyholders, such as the use of ALL-38009 (02/13).

REQUEST NO. 24:              Any and all materials, handouts, manuals, outlines, articles,
Communications and/or Documents referencing CF-2006-0VBEF and/or the EXCLUSION OF
LOSS DUE TO VIRUS OR BACTERIA (CP 014007 06 and/or CP 01 75 07 06) and relating to
any requirements of any insurance regulatory department, commission or authority that certain
exclusions or limitations in a policy be pointed out to policyholders, such as the use of ALL-38009
(02/13) and/or any internal Chubb rules or guidelines regarding such actions or compliance.

REQUEST NO. 25: Any materials, handouts, manuals, outlines, articles, Communications
and/or Documents to or from any organization or group of or individual insurance brokers or
agents that Relates to any statement of position by Chubb and/or Communication with
policyholders in general (as opposed to communicating with a specific policyholder), on the
subject of business interruption or business income coverage in light of the pandemic and/or the
2019 Novel Coronavirus and/or COVID-19, prepared or communicated in any manner or fashion
since December 15, 2019.




PLAINTIFFS FIRST REQUESTS FOR PRODUCTION                                                        24

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                                        FELICIA PITRE
                            DALLAS COUNTY DISTRICT CLERK

                                     NINA MOUNTIQUE
                                       CHIEF DEPUTY




                             CAUSE NO. DC-20-05751



                              LOMBARDI'S, INC. et al

        vs. INDEMNITY INSURANCE COMPANY OF NORTH AMERICA



                                  14th District Court




                     ENTER DEMAND FOR JURY
                          JURY FEE PAID BY: PLAINTIFF

                                     FEE PAID: $40




                 600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                      FAX (214)653-7781 E-mail: Felicia.Pitre@dallascounty.org
                      Web site: http://www.dallascounty.org/distclerk/index.html
                                                                                                                  FILED
                                                                                                     5/22/2020 12:18 PM
                                                                                                          FELICIA PITRE
  Case 3:20-cv-01371-G Document 1 Filed 05/27/20                  Page 37 of 113 PageID 37             DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                                   Loaidi Grove DEPUTY


                                    CAUSE NO. DC-20-05751


 LOMBARDI’S INC.; LOMBARDI’S                     § IN THE DISTRICT COURT OF
 FAMILY CONCEPTS, INC.; PENNE                    §
 SNIDER, LLC; PENNE PRESTON, LLC;                §
                                                 §
 ALBERTO LOMBARDI INTERESTS,                     §
 LLC; TAVERNA DOMAIN AUSTIN, LP;                 §
 CAFÉ TOULOUSE RIVER OAKS                        §
 DISTRICT; CAFÉ MONACO HPV, LLC;                 §
 PENNE LAKEWOOD, LLC; TAVERNA                    §
 BUCKHEAD, LP; TAVERNA AUSTIN,                   §
 L.L.C.; TAVERNA FT. WORTH, LLC;                 §
                                                 §
 TOULOUSE KNOX BISTRO, LLC;                      §
 TAVERNA ARMSTRONG, L.L.C.;                      §
 TOULOUSE DOMAIN AUSTIN, LP;                     §
 BISTRO 31 LEGACY, LP; TAVERNA                   §
 LEGACY, LP; TAVERNA BUCKHEAD,                   §
 LP; AND LOMBARDI’S OF DESERT                    §
                                                 §
 PASSAGE, INC.                                   §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              § DALLAS COUNTY, TEXAS
                                                 §
 INDEMNITY INSURANCE COMPANY                     §
 OF NORTH AMERICA,                               §
                                                 §
        Defendant.                               § A-14TH JUDICIAL DISTRICT


                     ORIGINAL ANSWER OF DEFENDANT
             INDEMNITY INSURANCE COMPANY OF NORTH AMERICA

       DEFENDANT INDEMNITY INSURANCE COMPANY OF NORTH AMERICA

(hereinafter “Defendant”), in the above-entitled and numbered cause, files this Original Answer in

the above-captioned lawsuit and would show:

                                          GENERAL DENIAL

       Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies all of the

allegations contained in Plaintiffs’ Original Petition, and any amendments and supplements

thereto, and requests that this Court require Plaintiffs to prove such allegations by a preponderance


                                                                            EXHIBIT B
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of the evidence as required by the Texas Constitution and by the statutes, laws, and Rules of Civil

Procedure of the State of Texas.

                                    REQUEST FOR DISCLOSURE

       Pursuant to Tex. R. Civ. P. 194, Plaintiffs are requested to provide Defendant the

information and documentation set forth in Rule 194 within 60 days of this request.

 Dated: May 22, 2020                              NORTON ROSE FULBRIGHT US LLP
                                                  /s Daniel McNeel Lane, Jr.
                                                  Daniel McNeel Lane, Jr.
                                                  State Bar No. 00784441
                                                  neel.lane@nortonrosefulbright.com
                                                  Frost Tower
                                                  111 W. Houston Street, Suite 1800
                                                  San Antonio, TX 78205
                                                  Telephone:    (210) 224-5575
                                                  Facsimile:    (210) 270-7205

                                                  ATTORNEYS FOR INDEMNITY INSURANCE OF
                                                  NORTH AMERICA



                                   CERTIFICATE OF SERVICE

       This pleading, Original Answer of Defendant Indemnity Insurance Company of North
America, has been served upon all counsel of record in compliance with Rules 21 and 21a of the
Texas Rules of Civil Procedure on May 22, 2020:

        Patrick A. Luff
        Robert E. Ammons
        The Ammons Law Firm, LLP
        3700 Montrose Blvd.
        Houston, Texas 77006
        rob@ammonslaw.com
        Patrick.luff@ammonslaw.com




                                                             /s/ Daniel McNeel Lane, Jr.

                                                               Daniel McNeel Lane, Jr.




                                               -2-
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                                   Texas District & County Courts

                            TX District & County - Dallas (District Only)
                                         (14th District Court)

                                            DC-20-05751

       LOMBARDI'S, INC. et al vs. INDEMNITY INSURANCE COMPANY OF
                              NORTH AMERICA

                       This case was retrieved from the court on Friday, May 22, 2020



                                                  Header
                                      Case Number:    DC-20-05751
                                        Date Filed:   04/16/2020
                         Date Full Case Retrieved:    05/22/2020
                                            Status:   Open
                                              Misc:   (229) INSURANCE; District Civil
             [Summary][Participants][Proceedings][Dispositions][Payments][Bond Information]

                                                Summary

                                            Judge: MOYE', ERIC


                                               Participants
 Litigant                                                          Attorney
 Lombardi's, Inc.                                                  Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Lombardi's Family Concepts, Inc.                                  Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Penne Snider, Llc                                                 Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Penne Preston, Llc                                                Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Alberto Lombardi Interests, Llc                                   Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Taverna Domain Austin, LP                                         Huddleston, Michael Wallace
 Plaintiff                                                         Retained



                                                                                 EXHIBIT C

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 Cafe Toulouse River Oaks District, LP                     Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Cafe Monaco Hpv, Llc                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Penne Lakewood, Llc                                       Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Buckhead, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Domain Austin, LP                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Austin, L.L.C.                                    Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Ft. Worth, Llc                                    Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Toulouse Knox Bistro, Llc                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Armstrong, L.L.C.                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Toulouse Domain Austin, LP                                Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Bistro 31 Legacy, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Legacy, LP                                        Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Buckhead, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Lombardi's of Desert Passage, Inc.                        Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Indemnity Insurance Company of North America
 Defendant




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                                                Proceedings
 Date       Details
 04/16/2020 NEW CASE FILED (OCA) - CIVIL
 04/16/2020 ORIGINAL PETITION - ORIGINAL PETITION
 04/16/2020 JURY DEMAND - JURY DEMAND
 04/16/2020 ISSUE CITATION - ISSUE CITATION
 04/17/2020 CITATION Served: 04/29/2020 Anticipated Server: ESERVE Actual Server: PRIVATE
            PROCESS SERVER Returned: 05/04/2020 Comment: INDEMNITY INSURANCE COMPANY
 05/04/2020 RETURN OF SERVICE - EXECUTED CITATION - INDEMNITY INSURANCE COMPANY OF
            NORTH AMERICA Comment: EXECUTED CITATION - INDEMNITY INSURANCE COMPANY OF
            NORTH AMERICA
 05/22/2020 ORIGINAL ANSWER - GENERAL DENIAL - ORIGINAL ANSWER- SUBMITTED TO ADMIN
            QUEUE


                                                Dispositions


                                No Information is Available for this case


                                                 Payments
 Date        Details                                                                      Amount
             Lombardi's, Inc.
 04/17/2020 Transaction Assessment                                                        $365.00
 04/17/2020 CREDIT CARD - TEXFILE (DC) Receipt # 23863-2020-DCLK LOMBARDI'S, INC.         ($365.00)


                                             Bond Information


                                No Information is Available for this case



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May 14, 2020
                                                                                   Norton Rose Fulbright US LLP
Via E-Mail: mhuddleston@munsch.com                                                 Frost Tower
                                                                                   111 W. Houston Street, Suite 1800
                                                                                   San Antonio, Texas 78205
                                                                                   United States
Michael W. Huddleston, Esq.
Munsch Hardt Kopf & Harr, P.C.                                                     Neel Lane
3800 Ross Tower                                                                    Partner
                                                                                   Direct line +1 210 270 7170
500 North Akard Street
                                                                                   neel.lane@nortonrosefulbright.com
Dallas, Texas 75201-7584
                                                                                   Tel +1 210 224 5575
                                                                                   Fax +1 210 270 7205
                                                                                   nortonrosefulbright.com


Re:        Cause No. DC-20-05751; Lombardi’s Inc., et al v. Indemnity Insurance Company of
           North America, in the A-14th District Court of Dallas County, Texas

Dear Mr. Huddleston:

I hope you and your family are keeping safe and healthy.

We write to seek your cooperation in providing information that is solely in your clients’
possession. Specifically, we seek to determine whether diversity of citizenship exists in the case
that you filed in the 14th Judicial District Court of Dallas County, Texas, on behalf of your clients,
styled Lombardi’s Inc., et al. v. Indemnity Insurance Company of North America and docketed as
Cause No. DC-20-05751 (“Case”). In your petition, you alleged that the numerous limited liability
company (“LLC”) and limited partnership (“LP”) plaintiffs were each organized under Texas law
and doing business in Dallas County (see Petition ¶¶ 3(c), 3(d)), but additional information is
necessary to determine whether complete diversity of citizenship exists among the parties. We
have diligently searched for this information via public sources and have found that it is not publicly
available. Therefore, it appears this information is in your clients’ sole possession.

Please provide a complete list of the members of each of the LLC and LP plaintiffs listed below:

           Penne Snider, LLC
           Penne Preston, LLC
           Alberto Lombardi Interests, LLC
           Cafe Monaco HPV, LLC
           Penne Lakewood, LLC
           Taverna Austin, L.L.C.
           Taverna Ft. Worth, LLC
           Toulouse Knox Bistro, LLC
           Taverna Armstrong, L.L.C.
           Taverna Domain Austin, LP
           Café Toulouse River Oaks District, LP
           Taverna Buckhead, LP
           Toulouse Domain Austin, LP                                                                             EXHIBIT D (redacted)
           Bistro 31 Legacy, LP
           Taverna Legacy, LP
Norton Rose Fulbright US LLP is a limited liability partnership registered under the laws of Texas.                                          99915221.1

Norton Rose Fulbright US LLP, Norton Rose Fulbright LLP, Norton Rose Fulbright Australia, Norton Rose Fulbright Canada LLP and Norton Rose
Fulbright South Africa Inc are separate legal entities and all of them are members of Norton Rose Fulbright Verein, a Swiss verein. Norton Rose Fulbright
Verein helps coordinate the activities of the members but does not itself provide legal services to clients. Details of each entity, with certain regulatory
information, are available at nortonrosefulbright.com.
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Michael W. Huddleston, Esq.
May 14, 2020
Page 2


        Taverna Buckhead, LP

We also request that you provide the citizenship information for each member identified, as this
information also may not be publicly available. To that end, for each individual member, please
identify the single state of their domicile. For each corporate member, please identify its state of
incorporation and the state of its principal place of business. Note that if any member of a plaintiff
LLC or LP happens to also be an LLC or LP, please provide that LLC or LP’s respective
membership and the citizenship of its members as well, until all members identified are either
individuals or corporations.

Please provide us this information by May 20, 2020, so that we may assess whether diversity of
citizenship exists in this matter. Please do not hesitate to let me know if you have any questions
regarding our request.

Very truly yours,




Daniel M. Lane, Jr.


DML/sbc

cc: Julie Martin, Esq.




99915221.1
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Cardenas, Susan
From:                                            Huddleston, Mike <mhuddleston@munsch.com>
Sent:                                            Tuesday, May 19, 2020 8:20 PM
To:                                              Lane, Neel
Cc:                                              Martin, Julie; Kasher, Jodye
Subject:                                         Re: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



The client is collecting the information. I believe we should have it soon. I will try to get a more precise eta and report
back tomorrow.

Sent from my iPhone



           Michael W. Huddleston

           Munsch Hardt Kopf & Harr, P.C.
           500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

           Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

           Michael W. Huddleston

           Munsch Hardt Kopf & Harr, P.C.
           500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

           Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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           contract or electronic signature under the Electronic Signatures in Global and National Commerce Act, any version of the Uniform Electronic
           Transactions Act or any other statute governing electronic transactions.


           On May 19, 2020, at 7:30 PM, Lane, Neel <neel.lane@nortonrosefulbright.com> wrote:

Please let me know if you will be able to respond to my letter of last week. Thanks ‐ N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
Tel +1 210 270 7170 | Mob +1 210 535 8080
neel.lane@nortonrosefulbright.com

NORTON ROSE FULBRIGHT

Law around the world
nortonrosefulbright.com




           On May 14, 2020, at 4:55 PM, Lane, Neel <neel.lane@nortonrosefulbright.com> wrote:



                                                                                         1
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        Please see the attached correspondence. Best wishes – N.

        Neel Lane | Partner
        Co-Head of Insurance International Business Group – United States
        Norton Rose Fulbright US LLP
        Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
        Tel +1 210 270 7170 | Mob +1 210 535 8080
        neel.lane@nortonrosefulbright.com

        NORTON ROSE FULBRIGHT

        Law around the world
        nortonrosefulbright.com



        <DML Letter to Huddleston dated 14 May 2020.pdf>


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Cardenas, Susan
From:                        Lane, Neel
Sent:                        Tuesday, May 19, 2020 7:31 PM
To:                          mhuddleston@munsch.com
Cc:                          Martin, Julie; Kasher, Jodye
Subject:                     Re: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



Please let me know if you will be able to respond to my letter of last week. Thanks ‐ N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
Tel +1 210 270 7170 | Mob +1 210 535 8080
neel.lane@nortonrosefulbright.com

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nortonrosefulbright.com




           On May 14, 2020, at 4:55 PM, Lane, Neel <neel.lane@nortonrosefulbright.com> wrote:



           Please see the attached correspondence. Best wishes – N.

           Neel Lane | Partner
           Co-Head of Insurance International Business Group – United States
           Norton Rose Fulbright US LLP
           Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
           Tel +1 210 270 7170 | Mob +1 210 535 8080
           neel.lane@nortonrosefulbright.com

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           <DML Letter to Huddleston dated 14 May 2020.pdf>




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                                      Case 3:20-cv-01371-G Document 1 Filed 05/27/20                            Page 47 of 113 PageID 47

Cardenas, Susan
From:                                            Huddleston, Mike <mhuddleston@munsch.com>
Sent:                                            Wednesday, May 20, 2020 7:22 PM
To:                                              Lane, Neel
Cc:                                              Martin, Julie; Kasher, Jodye; Gibson, Stephen
Subject:                                         RE: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs
Attachments:                                     Legacy Dunhill Investors LLC.pdf; River Oaks Dunhill Investors.pdf; Spreadsheet.pdf



Attached is the information requested. As you can see, the ownership interests in Legacy Dunhill and River Oaks Dunhill
contain some LLP’s and LLC’s. We do not have information on their ownership/members. We will be working on getting
that additional information tomorrow.

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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Electronic Signatures in Global and National Commerce Act, any version of the Uniform Electronic Transactions Act or any other statute governing electronic
transactions.



From: Lane, Neel <neel.lane@nortonrosefulbright.com>
Sent: Thursday, May 14, 2020 4:55 PM
To: Huddleston, Mike <mhuddleston@munsch.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>
Subject: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs


Please see the attached correspondence. Best wishes – N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
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                                                                                          1
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Legacy Dunhill Investors, LLC

1.      Anderson Crosland

        Dallas TX 75209

2.      Barbara VanOrder

        Alvord TX 76225

3.      David S Fogel

        Dallas TX 75209

4.      Deepak J. Patel

        Frisco TX 75033

5.      Karen Dickey Marital Trust

        Plano TX 75093

6.      Dimpal Parikh

        Ocean Township NJ 07712

7.      Dirk Taylor

        Arlington TX 76012

8.      Donny Mehrabi

        Santa Monica CA 90402

9.      Doug Willmarth

        McKinney TX 75069

10.     Daniel Banayan IRA
        c/o Equity Trust Co. #176987

        Waco TX 76702-2526
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11.   Isaac Yomtoob SEP IRA
      c/o Equity Trust Co. #87005

      Waco TX 76702-2526

12.   Mitesh Patel IRA
      Equity Trust Company, Custodian

      Westlake OH 44145

13.   Simon Boostanfar IRA
      c/o Equity Trust Co. #177414

      Waco TX 76702-2526

14.   Smita Equity Trust Company, Custodian FBO Smita Patel SEP-IRA 200351390

      Captain Cook HI 96704

15.   Eric Hansen

      Dallas TX 75214

16.   Gina Ginsburg

      Dallas TX 75229

17.   GS Cameron Family, LP

      Frisco TX 75036

18.   Harold Graves
      HEGraves, LLC

      Arlington TX 76016

19.   Ila Jayant Amin

      Fort Mill SC 29708

20.   Merritt Plus, LLC


      Dallas TX 75205
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21.   John T Pryor
      Donna M Pryor

      Frisco TX 75034

22.   Jorge & Gloria Fuentes

      Sylmar CA 91342

23.   Jacobs RR Interests, LLC

      Dallas TX 75205

24.   Justin Sparks

      Plano TX 75093

25.   Kashmira A Patel

      Greer SC 29650

26.   Marcial Rendon

      Dallas TX 75225

27.   Minal Amin Patel
      Miten Patel

      Brentwood TN 37027

28.   Mitesh Patel

      Captain Cook HI 96704

29.   Peter Fantl

      Gunter TX 75058

30.   Pratik Shah

      Escondido CA 92027
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31.   Primetime Capital LLC

      Dallas TX 75367-0683

32.   Prince 2002 Family Trust
      Billy Prince, Co-Trustee

      Plano TX 75093

33.   RGS Revocable Living Trust

      Plano TX 75086-8153

34.   Robb Rasmussen

      Frisco TX 75033

35.   Robert Pace

      Dallas TX 75235

36.   Scott K Ginsburg Revocable Trust
      Scott K Ginsburg, Trustee

      Dallas TX 75205-2802

37.   Shelley O'Neal

      Dallas TX 75220

38.   Shraddhaben Shah

      Carlsbad CA 92010

39.   Skytop Investments Partnership LLC

      Plano TX 75075

40.   Smita Patel

      Captain Cook HI 96704
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41.   Sue A de Mille Revocable Trust
      Sue de Mille-Minyard Trustee

      Frisco TX 75034

42.   William Carter Santos

      Atlanta GA 30305

43.   William L. Hutchinson

      Dallas TX 75205
     Case 3:20-cv-01371-G Document 1 Filed 05/27/20   Page 54 of 113 PageID 54


River Oaks Dunhill Investors, LLC

1.      Mahendra A Amin
        Ila J Amin

        Fort Mill SC 29708

2.      Seema M Amin

        Fort Mill SC 29708

3.      Suresh A Amin

        Charlotte NC 28277-2400

4.      Isaac Yomtoob SEP IRA
        c/o Equity Trust Company. #87005

        Waco TX 76702-2526

5.      Barbara VanOrder

        Alvord TX 76225

6.      Joel E. Hercik, Jr.

        McKinney TX 75070

7.      Miten Patel

        Franklin TN 37067

8.      Mann Energy, LLC

        Dallas TX 75225

9.      Rick G Smith

        Plano TX 75086-8153

10.     Anderson Crosland

        Dallas TX 75209

11.     Band Aid Partners

        Dallas TX 75225

12.     Deepak J. Patel

        Frisco TX 75033
  Case 3:20-cv-01371-G Document 1 Filed 05/27/20   Page 55 of 113 PageID 55




13.   Dirk Taylor

      Arlington TX 76012

14.   Sue A de Mille Revocable Trust
      Sue de Mille-Minyard Trustee
                     urt
      Frisco TX 75034

15.   Peter Fantl
                              r
      Gunter TX 75058

16.   Smita Patel

      Captain Cook HI 96704

17.   Skytop Investments Partnership LLC

      Plano TX 75075

18.   William L. Hutchinson

      Dallas TX 75205

19.   Kandis Hutchinson

      Dallas TX 75205

20.   Holly L Hutchinson

      Dallas TX 75205

21.   Rachel Hutchinson

      Houston TX 77098

22.   Tess Merriman
                                  C
      Dallas TX 75219

23.   Flycatcher Equity LLC
                        e
      Dallas TX 75205

24.   GWA Interests, LLC

      Dallas TX 75225

25.   Harvey H. Mueller, II
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      Fort Worth TX 76132

26.   Norlands LP

      Dallas TX 75205

27.   Stephen Summers

      Dallas TX 7520

28.   Primetime Capital LLC

      Dallas TX 75367-0683

29.   Bruder C/P Family LP

      Dallas TX 75209

30.   Colin Santos

      Dallas TX 75243

31.   Sarah Santos

      Dallas TX 75243
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ENTITY NAME               Physical Address       OWNERSHIP Home Address                       Principal State
                                                                                              Place of Incorporated
                                                                                              Business


222 Ocean Drive, LLC                             Alberto
                          Beach, CA 92651-2102   Lombardi        Dallas, TX 75204

                                                 Bill                               Dallas,
                                                 Hutchinson      TX 75219



Alberto        Lombardi                          Alberto                                      Dallas    Texas
Interests, Inc               Dallas, TX 75205    Lombardi        Dallas, TX 75204             County,
                                                                                              TX



Bistro 31 Legacy, LP                             Alberto                                      Dallas    Texas
                               Plano, TX 75024   Lombardi                                     County,
                                                 Interests,                                   TX
                                                 LLC, wholly
                                                 owned      by
                                                 Alberto
                                                 Lombardi

                                                 Legacy                                       Dallas    Texas
                                                 Dunhill                                      County,
                                                 Investors,                                   TX
                                                 LLC
                 Case 3:20-cv-01371-G Document 1 Filed 05/27/20        Page 58 of 113 PageID 58



Café   Monaco    HPV,                             Alberto
LLC                     Dallas, TX 75205          Lombardi        Dallas, TX 75204



Cafe Toulouse River                               Alberto                                  Dallas    Texas
Oaks District, LP             Houston, TX 77027   Lombardi                                 County,
                                                  Interests,                               TX
                                                  LLC, wholly
                                                  owned      by
                                                  Alberto
                                                  Lombardi

                                                  River    Oaks                            Dallas    Texas
                                                  Dunhill                                  County,
                                                  Investors,                               TX
                                                  LLC



Lombardi's of Desert                              Alberto
Passage, Inc.                                 Las Lombardi        Dallas, TX 75204
                        Vegas, NV 89109



Lombardi       Family                             Alberto
Concepts, Inc.             Dallas, TX 75205       Lombardi        Dallas, TX 75204



Lombardi's Inc                                    Alberto                              r
                           Dallas, TX 75205       Lombardi        Dallas, TX 75204
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LomCO, LLC                                         Alberto
                         Dallas, TX 75205          Lombardi    Dallas, TX 75204



Penne Lakewood, LLC                                Alberto
                      Dallas, TX 75214             Lombardi    Dallas, TX 75204

                                                   Anna
                                                   Lombardi    Dallas, TX 75214
                                                   Daigle



Penne Preston, LLC                                 Anna
                      Dallas, TX 75230             Lombardi    Dallas, TX 75214
                                                   Daigle

                                                   Alberto
                                                   Lombardi    Dallas, TX 75204



Penne Snider, LLC                        Dallas, TX Vivian                              Dr
                      75205                         Lombardi   Dallas, TX 75204

                                                   Alberto
                                                   Lombardi    Dallas, TX 75204

                                                   Sarah                          r Dallas,
                                                   Lombardi    TX 75243
                  Case 3:20-cv-01371-G Document 1 Filed 05/27/20     Page 60 of 113 PageID 60



Portolani Family, LP                             Alberto
                                , TX 75205       Lombardi       Dallas, TX 75204

                                                 Jane
                                                 Lombardi



Taverna    Armstrong,                 Dallas, TX Vivian
LLC                     75205                    Lombardi       Dallas, TX 75204

                                                 Alberto
                                                 Lombardi       Dallas, TX 75204



Taverna Austin, LLC                              Alberto
                        78701                    Lombardi       Dallas, TX 75204

                                                 Bill                              Dallas,
                                                 Hutchinson     TX 75219

                                                 Jeff Coleman
                                                                Dallas, TX 75214

                                                 Andy                              Dallas,
                                                 Crosland       TX 75205

                                                 Kevin Kerr                              ,
                                                                Wimberley, TX 78676
                Case 3:20-cv-01371-G Document 1 Filed 05/27/20       Page 61 of 113 PageID 61



Taverna Buckhead, LP                          Alberto                                         Dallas    Texas
                       Atlanta, GA 30305      Lombardi                                        County,
                                              Interests,                                      TX
                                              LLC, wholly
                                              owned      by
                                              Alberto
                                              Lombardi

                                              Carter & Joni                   Dr Macon,
                                              Santos        GA 31210

                                              Anna Daigle
                                                                Dallas, TX 75214

                                              Laura                                 Dallas,
                                              McDonnel          TX 75238

                                              Sarah & Colin                    Dr Dallas,
                                              Santos        TX 75243

                                              Austin Carter                         Macon,
                                                                GA 31210

                                              Jeremy        &
                                              Kathleen          Atlanta, GA 30339
                                              Moeser

                                              James Paine
                                                                Brookhaven, GA 30319



Taverna      Domain                           Alberto                                         Dallas    Texas
Austin, LP             Austin, TX 78758       Lombardi                                        County,
                                              Interests,                                      TX
                                              LLC, wholly
                                              owned      by
                  Case 3:20-cv-01371-G Document 1 Filed 05/27/20          Page 62 of 113 PageID 62



                                                     Alberto
                                                     Lombardi



                                                     Bill                               r Dallas,
                                                     Hutchinson      TX 75219



Taverna   Ft.   Worth,                          Fort Alberto
LLC                      Worth, TX 76102             Lombardi        Dallas, TX 75204

                                                     Bill                                 Dallas,
                                                     Hutchinson      TX 75219

                                                     Jeff Coleman
                                                                     Dallas, TX 75214



Taverna Legacy, LP                                   Alberto                                        Dallas    Texas
                              Plano, TX 75024        Lombardi                                       County,
                                                     Interests,                                     TX
                                                     LLC, wholly
                                                     owned      by
                                                     Alberto
                                                     Lombardi

                                                     Legacy                                         Dallas    Texas
                                                     Dunhill                                        County,
                                                     Investors,                                     TX
                                                     LLC
                Case 3:20-cv-01371-G Document 1 Filed 05/27/20       Page 63 of 113 PageID 63



Toulouse     Domain                             Alberto                                      Dallas    Texas
Austin, LP            Austin, TX 78758          Lombardi                                     County,
                                                Interests,                                   TX
                                                LLC, wholly
                                                owned      by
                                                Alberto
                                                Lombardi

                                                Bill                               Dallas,
                                                Hutchinson      TX 75219



Toulouse Knox Bistro,                Dallas, TX Vivian
LLC                   75205                     Lombardi        Dallas, TX 75204

                                                William                            Dallas,
                                                Hutchinson      TX 75219



Toulouse Legacy, LP                             Alberto                                      Dallas    Texas
                           Plano, TX 75024      Lombardi                                     County,
                                                Interests,                                   TX
                                                LLC, wholly
                                                owned      by
                                                Alberto
                                                Lombardi

                                                Legacy                                       Dallas    Texas
                                                Dunhill                                      County,
                                                Investors,                                   TX
                                                LLC
Case 3:20-cv-01371-G Document 1 Filed 05/27/20   Page 64 of 113 PageID 64
Case 3:20-cv-01371-G Document 1 Filed 05/27/20   Page 65 of 113 PageID 65
                                        Case 3:20-cv-01371-G Document 1 Filed 05/27/20                                Page 66 of 113 PageID 66

Cardenas, Susan
From:                                                   Huddleston, Mike <mhuddleston@munsch.com>
Sent:                                                   Wednesday, May 20, 2020 1:54 PM
To:                                                     Lane, Neel
Cc:                                                     Martin, Julie; Kasher, Jodye
Subject:                                                RE: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



I have received the initial information on your request. I have asked additional questions about two LLC’s, and I am
awaiting a response. I should be able to forward a spreadsheet by the end of the day.

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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transactions.



From: Lane, Neel <neel.lane@nortonrosefulbright.com>
Sent: Tuesday, May 19, 2020 7:31 PM
To: Huddleston, Mike <mhuddleston@munsch.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>
Subject: Re: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs

Please let me know if you will be able to respond to my letter of last week. Thanks ‐ N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
Tel +1 210 270 7170 | Mob +1 210 535 8080
neel.lane@nortonrosefulbright.com

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                                      On May 14, 2020, at 4:55 PM, Lane, Neel <neel.lane@nortonrosefulbright.com> wrote:


                                                                                                1
           Case 3:20-cv-01371-G Document 1 Filed 05/27/20                         Page 67 of 113 PageID 67


        Please see the attached correspondence. Best wishes – N.

        Neel Lane | Partner
        Co-Head of Insurance International Business Group – United States
        Norton Rose Fulbright US LLP
        Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
        Tel +1 210 270 7170 | Mob +1 210 535 8080
        neel.lane@nortonrosefulbright.com

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Cardenas, Susan
From:                      Martin, Julie
Sent:                      Wednesday, May 20, 2020 11:06 PM
To:                        Huddleston, Mike; Lane, Neel
Cc:                        Kasher, Jodye; Gibson, Stephen
Subject:                   RE: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



Hi Michael,

Thank you again for pulling together this information and for following up tomorrow to provide the additional
information that is needed regarding the LLC members that are organizations themselves.

One of the members of Legacy Dunhill Investors, LLC is listed on the document you sent as Harold Graves, HEGraves,
LLC. It is unclear whether both this individual and the LLC are members of Legacy Dunhill Investors, LLC, or whether only
one of them is. Will you please clarify and provide the relevant diversity citizenship information for whichever is the
true member(s)?

In addition to the LLCs and LPs (listed below for ease of reference) that are members of Legacy Dunhill Investors, LLC
and/or River Oaks Dunhill Investors, LLC and for which we need more member/partner identity and citizenship
information, we note that there are also a number of members that are trusts or IRAs. For the trust and IRA members
(also listed below for your convenience), please identify the trustee(s), beneficiary(ies), and the diversity citizenship
information for the trustee(s) and beneficiary(ies).

Trusts:
Karen Dicky Marital Trust
Prince 2002 Family Trust
RGS Revocable Living Trust
Scott K Ginsburg Revocable Trust
Sue A de Mille Revocable Trust

IRAs:
Daniel Banayan IRA
Isaac Yomtoob SEP IRA
Mitesh Patel IRA
Simon Boostanfar IRA
Smita Equity Trust Company, Custodian FBO Smith Patel SEP IRA 200351390

LPs:
GS Cameron Family, LP
Band Aid Partners
Norlands LP
Bruder C/P Family LP

LLCs:
Merritt Plus, LLC
Jacob RR Interests, LLC
Primetime Capital LLC
Skytop Investments Partnership LLC
Mann Energy, LLC
Flycatcher Equity LLC
GWA Interests, LLC
                                                                   1
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Thank you,
Julie


Julie Martin | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2493 | Fax +1 512 536 4598
julie.martin@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
Law around the world
nortonrosefulbright.com
From: Huddleston, Mike [mailto:mhuddleston@munsch.com]
Sent: Wednesday, May 20, 2020 7:22 PM
To: Lane, Neel <neel.lane@nortonrosefulbright.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>;
Gibson, Stephen <sgibson@munsch.com>
Subject: RE: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs

Attached is the information requested. As you can see, the ownership interests in Legacy Dunhill and River Oaks Dunhill
contain some LLP’s and LLC’s. We do not have information on their ownership/members. We will be working on getting
that additional information tomorrow.

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

Michael W. Huddleston

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Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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transactions.



From: Lane, Neel <neel.lane@nortonrosefulbright.com>
Sent: Thursday, May 14, 2020 4:55 PM
To: Huddleston, Mike <mhuddleston@munsch.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>
Subject: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs


Please see the attached correspondence. Best wishes – N.

                                                                                2
           Case 3:20-cv-01371-G Document 1 Filed 05/27/20                         Page 70 of 113 PageID 70
Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
Tel +1 210 270 7170 | Mob +1 210 535 8080
neel.lane@nortonrosefulbright.com

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                                                                3
                                     Case 3:20-cv-01371-G Document 1 Filed 05/27/20                           Page 71 of 113 PageID 71

Cardenas, Susan
From:                                           Martin, Julie
Sent:                                           Wednesday, May 20, 2020 8:27 PM
To:                                             Huddleston, Mike; Lane, Neel
Cc:                                             Kasher, Jodye; Gibson, Stephen
Subject:                                        RE: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



Hi Michael,

Thanks for getting us this information. We will watch for the remaining member LLC/LP info tomorrow.

To be certain, when you provide a home address for the individual members, does that address reflect their state of
domicile?

Thanks,
Julie


Julie Martin | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701-4255, United States
Tel +1 512 536 2493 | Fax +1 512 536 4598
julie.martin@nortonrosefulbright.com

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From: Huddleston, Mike [mailto:mhuddleston@munsch.com]
Sent: Wednesday, May 20, 2020 7:22 PM
To: Lane, Neel <neel.lane@nortonrosefulbright.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>;
Gibson, Stephen <sgibson@munsch.com>
Subject: RE: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs

Attached is the information requested. As you can see, the ownership interests in Legacy Dunhill and River Oaks Dunhill
contain some LLP’s and LLC’s. We do not have information on their ownership/members. We will be working on getting
that additional information tomorrow.

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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Sent: Thursday, May 14, 2020 4:55 PM
To: Huddleston, Mike <mhuddleston@munsch.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye <jodye.kasher@nortonrosefulbright.com>
Subject: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs


Please see the attached correspondence. Best wishes – N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
Norton Rose Fulbright US LLP
Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
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neel.lane@nortonrosefulbright.com

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                                                                                2
           Case 3:20-cv-01371-G Document 1 Filed 05/27/20                                Page 73 of 113 PageID 73

Cardenas, Susan
From:                      Martin, Julie
Sent:                      Thursday, May 21, 2020 12:22 AM
To:                        Huddleston, Mike
Cc:                        Lane, Neel; Kasher, Jodye; Gibson, Stephen
Subject:                   Re: Chubb/Lombardi - Correspondence re Citizenship of Plaintiffs



Hi Mike,



Though publicly available entity data sources do not provide complete membership information for the plaintiff LLCs and
LPs, certain public sources identified a handful of discrepancies against the information in the spreadsheet you provided:



1. The public entity records we found indicated that “Toulouse Taverna GP LLC” is a general partner of several of the
plaintiff LPs (Bistro 31 Legacy, LP, Taverna Buckhead, LP, Taverna Domain Austin, LP, Taverna Legacy, LP, and Toulouse
Domain Austin, LP), but the spreadsheet you provided did not identify that entity as a partner of those LPs.



2. The public entity records indicated that Alberto Lombardi is a member of plaintiff Toulouse Knox Bistro, LLC, but your
spreadsheet did not identify him as a member of that entity.



Will you please confirm whether the information above that we found in our public record searches is correct or
incorrect?




Thank you,

Julie


Julie Martin | Counsel
Norton Rose Fulbright US LLP
98 San Jacinto Boulevard, Suite 1100, Austin, Texas 78701‐4255, United States
Tel +1 512 536 2493 | Fax +1 512 536 4598
julie.martin@nortonrosefulbright.com

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                                                                   1
   Case 3:20-cv-01371-G Document 1 Filed 05/27/20                                            Page 74 of 113 PageID 74
On May 20, 2020, at 7:22 PM, Huddleston, Mike <mhuddleston@munsch.com> wrote:


Attached is the information requested. As you can see, the ownership interests in Legacy Dunhill and
River Oaks Dunhill contain some LLP’s and LLC’s. We do not have information on their
ownership/members. We will be working on getting that additional information tomorrow.

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com

Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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From: Lane, Neel <neel.lane@nortonrosefulbright.com>
Sent: Thursday, May 14, 2020 4:55 PM
To: Huddleston, Mike <mhuddleston@munsch.com>
Cc: Martin, Julie <julie.martin@nortonrosefulbright.com>; Kasher, Jodye
<jodye.kasher@nortonrosefulbright.com>
Subject: Chubb/Lombardi ‐ Correspondence re Citizenship of Plaintiffs


Please see the attached correspondence. Best wishes – N.

Neel Lane | Partner
Co-Head of Insurance International Business Group – United States
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Frost Tower, 111 W. Houston Street, Suite 1800, San Antonio, Texas 78205, United States
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<Legacy Dunhill Investors LLC.pdf>
<River Oaks Dunhill Investors.pdf>
<Spreadsheet.pdf>




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                                      Case 3:20-cv-01371-G Document 1 Filed 05/27/20                   Page 76 of 113 PageID 76

Cardenas, Susan
From:                                            Huddleston, Mike <mhuddleston@munsch.com>
Sent:                                            Friday, May 22, 2020 9:05 AM
To:                                              Lane, Neel
Subject:                                         Lombardi's



I am on a conference call. I will call when done. I will have additional and more complete information on the other
entities and their membership later today.


Michael W. Huddleston

Munsch Hardt Kopf & Harr, P.C.
500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

Direct: +1.214.855.7572 / mhuddleston@munsch.com / munsch.com




Michael W. Huddleston

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Direct: +1.214.855.7572 / Mobile: +1.214.542.1926 / mhuddleston@munsch.com / munsch.com

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                                   Texas District & County Courts

                            TX District & County - Dallas (District Only)
                                         (14th District Court)

                                            DC-20-05751

       LOMBARDI'S, INC. et al vs. INDEMNITY INSURANCE COMPANY OF
                              NORTH AMERICA

                       This case was retrieved from the court on Friday, May 22, 2020



                                                  Header
                                      Case Number:    DC-20-05751
                                        Date Filed:   04/16/2020
                         Date Full Case Retrieved:    05/22/2020
                                            Status:   Open
                                              Misc:   (229) INSURANCE; District Civil
             [Summary][Participants][Proceedings][Dispositions][Payments][Bond Information]

                                                Summary

                                            Judge: MOYE', ERIC


                                               Participants
 Litigant                                                          Attorney
 Lombardi's, Inc.                                                  Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Lombardi's Family Concepts, Inc.                                  Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Penne Snider, Llc                                                 Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Penne Preston, Llc                                                Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Alberto Lombardi Interests, Llc                                   Huddleston, Michael Wallace
 Plaintiff                                                         Retained


 Taverna Domain Austin, LP                                         Huddleston, Michael Wallace
 Plaintiff                                                         Retained



                                                                                 EXHIBIT C

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LexisNexis CourtLink - Show Docket                                                       Page 2 of 3
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 Cafe Toulouse River Oaks District, LP                     Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Cafe Monaco Hpv, Llc                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Penne Lakewood, Llc                                       Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Buckhead, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Domain Austin, LP                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Austin, L.L.C.                                    Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Ft. Worth, Llc                                    Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Toulouse Knox Bistro, Llc                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Armstrong, L.L.C.                                 Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Toulouse Domain Austin, LP                                Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Bistro 31 Legacy, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Legacy, LP                                        Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Taverna Buckhead, LP                                      Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Lombardi's of Desert Passage, Inc.                        Huddleston, Michael Wallace
 Plaintiff                                                 Retained


 Indemnity Insurance Company of North America
 Defendant




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LexisNexis CourtLink - Show Docket                                                          Page 3 of 3
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                                                Proceedings
 Date       Details
 04/16/2020 NEW CASE FILED (OCA) - CIVIL
 04/16/2020 ORIGINAL PETITION - ORIGINAL PETITION
 04/16/2020 JURY DEMAND - JURY DEMAND
 04/16/2020 ISSUE CITATION - ISSUE CITATION
 04/17/2020 CITATION Served: 04/29/2020 Anticipated Server: ESERVE Actual Server: PRIVATE
            PROCESS SERVER Returned: 05/04/2020 Comment: INDEMNITY INSURANCE COMPANY
 05/04/2020 RETURN OF SERVICE - EXECUTED CITATION - INDEMNITY INSURANCE COMPANY OF
            NORTH AMERICA Comment: EXECUTED CITATION - INDEMNITY INSURANCE COMPANY OF
            NORTH AMERICA
 05/22/2020 ORIGINAL ANSWER - GENERAL DENIAL - ORIGINAL ANSWER- SUBMITTED TO ADMIN
            QUEUE


                                                Dispositions


                                No Information is Available for this case


                                                 Payments
 Date        Details                                                                      Amount
             Lombardi's, Inc.
 04/17/2020 Transaction Assessment                                                        $365.00
 04/17/2020 CREDIT CARD - TEXFILE (DC) Receipt # 23863-2020-DCLK LOMBARDI'S, INC.         ($365.00)


                                             Bond Information


                                No Information is Available for this case



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        3:20-cv-01371-G Document 1 Filed 05/27/20                                                            Page 80 of 113 PageID 80                  DISTRICT CLERK
                                                                                                                                                 DALLAS        00.,   TEXAS
                                                                                                                                                     Alicia   Mata   DEPUTY

                                                 DC-20-05751
                              CAUSE NO:


 LOMBARDI’S INC; LOMBARDI’S                                                                       IN   THE DISTRICT COURT 0F
                                                                                                                          OF
 FAMILY CONCEPTS, INC; PENNE
 SNIDER, LLC; PENNE PRESTON, LLC;
 ALBERTO LOMBARDI INTERESTS,
 LLC; TAVERNA DOMAIN AUSTIN, LP;
 CAFE TOULOUSE RIVER OAKS
               CAFE MONACO HPV,
 DISTRICT, LP; CAFE’
 LLC; PENNE LAKEWOOD, LLC;
 TAVERNA BUCKHEAD, LP; TAVERNA
 DOMAIN AUSTIN LP; TAVERNA
 AUSTIN, L.L.C.; TAVERNA FT. WORTH,
 LLC; TOULOUSE KNOX BISTRO, LLC;
 TAVERNA ARMSTRONG, L.L.C.;
 TOULOUSE DOMAIN AUSTIN, LP;
 BISTRO 31 LEGACY, LP; TAVERNA                      000mmmw:mmmmmmmmmmmmmmmmmmmmmm




 LEGACY, LP; TAVERNA BUCKHEAD,                      GO?00300300?WWWWDWWWDWWWDWWWDWWWDWWWDWWWDW




 LP; AND LOMBARDI’S 0F DESERT
 PASSAGE, INC.

          PLAINTIFFS,

 V.                                                                                               DALLAS COUNTY, TEXAS

 INDEMNITY INSURANCE COMPANY
 OF NORTH AMERICA,

          DEFENDANT.                                                                              _
                                                                                                 A-14TH JUDICIAL DISTRICT


                             PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW       Plaintiffs   Lombardi’s   Inc.;                                         Lombardi’s Family Concepts,      Inc.;    Penne

Snider,   LLC; Penne
               Penna   Preston,   LLC; Alberto Lombardi                                             Interests,   LLC; Taverna Domain       Austin,


LP; Café Toulouse River Oaks       District,   LP; Café Monaco HPV, LLC; Penne Lakewood, LLC;

Taverna Buckhead, LP; Taverna Domain Austin LP; Taverna Austin, L.L.C.; Taverna                                                     Ft.    Worth,


LLC; Toulouse Knox      Bistro,   LLC; Taverna Armstrong,                                              L.L.C.; Toulouse   Domain   Austin, LP;



PLAINTIFFS ORIGINAL PETITION                                                                                                                     1



4853-0333-1 258v.4
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Bistro 31 Legacy, LP; Taverna Legacy, LP; Taverna Buckhead, LP; and Lombardi’s Of Desert

Passage, Inc., (collectively “Lombardi’s”) complain of Indemnity Insurance Company of North

America (“Chubb”) Defendant, as follows:

                               I.     DISCOVERY CONTROL P LAN

1.       Lombardi’s intends to conduct discovery under Level 3 of Texas Rule of Civil Procedure

190.4.

                                    II.     RULE 47 STATEMENT

2.       Lombardi’s seeks monetary relief of more than $1,000,000 in costs, expenses, pre-judgment

interest, and attorney fees.

                           III.     PARTIES, JURISDICTION & VENUE

3.       The Plaintiffs are:

         a.         Lombardi’s Inc., a corporation organized under Texas law and doing business in

                    Dallas County, Texas;

         b.         Lombardi’s Family Concepts, Inc., a corporation organized under Texas law and

                    doing business in Dallas County, Texas;

         c.         Penne Snider, LLC; Penne Preston, LLC; Alberto Lombardi Interests, LLC;

                    Taverna Domain Austin, LP; Café Toulouse River Oaks District, LP; Cafe Monaco

                    HPV, LLC; Penne Lakewood, LLC; Taverna Buckhead, LP; Taverna Domain

                    Austin, LP; Taverna Austin, L.L.C.; Taverna Ft. Worth, LLC; Toulouse Knox

                    Bistro, LLC; and Taverna Armstrong, L.L.C. each are limited liability companies

                    organized under Texas law and doing business in Dallas County, Texas;




PLAINTIFFS ORIGINAL PETITION                                                                     2

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     Case 3:20-cv-01371-G Document 1 Filed 05/27/20                                  Page 82 of 113 PageID 82



         d.          Toulouse Domain Austin, LP; Bistro 31 Legacy, LP; Taverna Legacy, LP; and

                     Taverna Buckhead, LP each are limited partnerships organized under Texas law

                     and doing business          in Dallas County, Texas;      and

         e.          Lombardi's ofDesert Passage, Inc.             is   a foreign corporation organized under Nevada


                     and doing business          in   Nevada.


4.       Defendant, Indemnity Insurance                  Company of North America        (“Chubb”),   is   a foreign ﬁre


and casualty insurance company domiciled                         in     Pennsylvania and authorized by the Texas


Department of Insurance             to   conduct insurance business in Texas. This        suit arises out   0f insurance


business purposefully and continuously conducted With plaintiff in the State 0f Texas.                       Chubb may

be served with process in            this suit   by    delivering citation t0 the following serving as      its   registered


agent at the following rggjstered address:                  CT   Corporation System, 1999 Bryan Street, Ste. 990,


Dallas, Texas 75201-3136.


5.       Jurisdiction       is   proper in the District Court of Dallas County, Texas because the amount in


controversy     is   Within the jurisdictional limits 0f this court.


6.       Venue       is   proper in Dallas County pursuant to Texas Civil Practice and Remedies Code


§15.002 because the cause 0f action arises out of events that occurred in Dallas County and


pursuant t0 Texas Civil Practice and Remedies Code §15.053 because insured properties are


situated in Dallas County.




PLAINTIFFS ORIGINAL PETITION                                                                                              3


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                                     IV.            FACTUAL BACKGROUND

7.         Chubbl      entered into a contract of commercial property insurance with the Lombardi’s


family 0f restaurants? Lombardi’s agreed to pay signiﬁcant premiums in exchange for Chubb’s


promises of indemnify for losses, including but not limited                      t0,   business income losses at several


different locations (“the Insured Properties”).


8.         The Insured Properties         are covered under policy              number MCRD38196169, which was

renewed      for the June 30, 2019, t0 June 30, 2020, policy period (“the Policy”).                 Lombardi’s fulﬁlled


all   of their responsibilities under the insurance contract, dutifully paying hundreds of thousands of


dollars in     premiums   t0   Chubb over the         years.


9.         The Policy has been continuously               in full force   and   effect since inception, providing ﬁrst-


party property, business personal property and business income, extra expense and additional


coverages.


10.        Chubb promised under the Policy t0 pay                “for direct physical loss ofor      damage       t0   Covered

Property at the premises described in the Declarations caused by 0r resulting from any Covered


Cause of Loss.”

11.        The Insured Properties covered under the Policy                  are subject t0 a Business       Income (and

Extra Expense) Coverage limit 0f $18,952,419. The Policy provides “all risks” insurance.


12.        A   pneumonia of unknown             origin     was   ﬁrst reported t0 the       World Health Organization

(“WHO”) 0n December              31, 2019.          China provided the genetic sequence for What has become

known       as the   2019 Novel Coronavirus (2019-nCOV) 0n 0r about January                        12, 2020.      The    WHO

1
    Indemnity Insurance   Company   is   part 0f the     Chubb Group 0f Companies. “Chubb N.A. Claims” handled the
adjusting   0n behalf 0f Indemnity, what   little   there was, 0n Lombardi’s claim. “Chubb” is stamped in numerous places
on the policy. In the April 3, 2020, denial           letter, the Chubb N.A. adjuster used “Chubb” as the shorthand or

synonymous reference to Indemnity Insurance Company of North America.

2
    The Policy was a commercial package policy including both commercial property and general         liability   coverage.


PLAINTIFFS ORIGINAL PETITION                                                                                                  4

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   Case 3:20-cv-01371-G Document 1 Filed 05/27/20                Page 84 of 113 PageID 84



recognized on January 25, 2020, that the 2019 Novel Coronavirus is a “global threat to human

health . . . .” On January 30, 2020, the Director of WHO declared the 2019 Novel Coronavirus

“outbreak a Public Health Emergency of International Concern.” The disease caused by the 2019

Novel Coronavirus was identified as “COVID-19” on February 11, 2020. On March 11, WHO

characterized COVID-19 as a pandemic. WHO saw “alarming levels of spread and severity, and

by the alarming levels of inaction.” WHO representatives stated: “Pandemic is not a word to use

lightly or carelessly . . . We have never before seen a pandemic sparked by a coronavirus. This

is the first pandemic caused by a coronavirus. And we have never before seen a pandemic that can

be controlled, at the same time.” (Emphasis added.) The pandemic spread from China to

surrounding countries and then to Italy, Iran, Spain and across the globe.

13.     The Center for Disease Control (“CDC”) has stated that a “pandemic is a global outbreak

of disease. Pandemics happen when a new virus emerges to infect people and can spread between

people sustainably. Because there is little to no pre-existing immunity against the new virus, it

spreads worldwide.”

14.     On January 31, 2020, President Trump signed the Presidential Proclamation on Suspension

of Entry as Immigrants and Nonimmigrants of Persons who Pose a Risk of Transmitting 2019

Novel Coronavirus (the First Proclamation), suspending the entry of all aliens (i.e., non-citizens)

who were physically present within the People’s Republic of China (excluding the Special

Administrative Regions of Hong Kong and Macau) during the 14-day period preceding their

attempted entry into the United States. On February 29, 2020, President Trump signed the

Presidential Proclamation on the Suspension of Entry as Immigrants and Nonimmigrants of Certain

Additional Persons Who Pose a Risk of Transmitting Coronavirus (the Second Proclamation),

suspending the entry of all aliens who were physically present within the Islamic Republic of Iran


PLAINTIFFS ORIGINAL PETITION                                                                     5

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during the 14-day period preceding their attempted entry into the United States. On March 11,

2020, President Trump signed the Presidential Proclamation on Suspension of Entry as Immigrants

and Nonimmigrants of Certain Additional Persons Who Pose a Risk of Transmitting 2019 Novel

Coronavirus (the Third Proclamation), resulting in a travel ban and of the entry of all aliens who

were physically present in any of the 26 European countries that make up the Schengen Area during

the 14-day period preceding their attempted entry into the United States. The Schengen Area

included: Austria, Belgium, Czech Republic, Denmark, Estonia, Finland, France, Germany,

Greece, Hungary, Iceland, Italy, Latvia, Liechtenstein, Lithuania, Luxembourg, Malta,

Netherlands, Norway, Poland, Portugal, Slovakia, Slovenia, Spain, Sweden and Switzerland.

15.     On March 12, 2020, the Mayor of Dallas “declared a local state of disaster” for the City of

Dallas resulting “from the COVID-19 Pandemic” and issued an order prohibiting public gatherings

of more than 500 people. Texas Government Code Section 418.108 authorizes the Mayor to order

the evacuation of all or part of the population from a stricken or threatened area under the

jurisdiction and authority of the Mayor if the Mayor considers the action necessary for the

preservation of life or other disaster mitigation, response or recovery. Section 418 further

authorizes the Mayor to control ingress to and egress from a disaster area under the jurisdiction

and authority of the Mayor and control the movement of persons and the occupancy of premises

in that area. Moreover, the Mayor’s initial order and all subsequent orders note that Section 14B-

7 of the Dallas City Code authorizes the City Manager to "promulgate such regulations as he or

she deems necessary to protect life and property and preserve critical resources" while a state of

disaster is in effect. (Emphasis added.)

16.     On March 12, 2020, under authority of Texas Government Code section 108, Dallas County

Judge Clay Jenkins issued a DECLARATION OF LOCAL DISASTER FOR PUBLIC HEALTH


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EMERGENCY.                  The Declaration noted          that   WHO   had declared a world-Wide pandemic. The

Declaration stated that “a local state of disaster for public health emergency                    is   hereby declared for


Dallas County, Texas, pursuant t0 section 418.108(a) of the Texas Government Code.” Also 0n


March    12, 2020,          Judge Jenkins issued an order         stating:   “The Virus   that causes   2019 Coronavirus

Disease (COVID—19)                 is   easily transmitted through person t0 person contact, especially in group


settings,     and   it is   essential that the spread       of the Virus be slowed t0 protect the        ability   ofpublic

andprivate health care providers                  to handle the   inﬂux of new patients and safeguard public health

and safety.” (Emphasis added.) Accordingly, community gatherings 0f more than 500 were

prohibited.3


17.          On March        14,   2020, President      Trump signed the Proclamation 0n       the Suspension 0f Entry


as Immigrants        and Nonimmigrants 0f Certain Additional Persons                Who Pose a Risk 0f Transmitting

Coronavirus (the Fourth Proclamation), further suspending the entry of                            all    aliens   Who were

physically present in the United                Kingdom (excluding      overseas territories outside 0f Europe) 0r the


Republic of Ireland during the 14-day period preceding their attempted entry into the United States.


18.      Four days          later,   on March    16,   2020, an Amended Order was issued by the County 0f Dallas.


This order barred public, private or community gatherings of more than ﬁfty.                             It   also provided:


“Restaurants with or without drive-in 0r drive-through services and microbreweries, micro-


distilleries,   0r wineries          may     only provide take out, delivery, 0r drive-through services as allowed


by law.”




3
  Similar orders were entered in Georgia and Nevada, the locations 0f two 0f the Lombardi’s Plaintiffs, declaring
emergencies and setting forth orders for how the states were going to respond to the pandemic. These orders also noted
the extreme risk, pointing out that thereis a correlation between the density of persons gathered and transmission of

the Virus.   The Georgia Order
                             (0 0)  emphasized
                                         1       that “proximity to other persons is currently contraindicated by public
health and medical best practices t0 combat” the spread 0f COVID-19.


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19.     An Amended Order by the City of Dallas was also entered March 16, 2020, prohibiting

access and use of any premises operated as dine-in restaurants, but allowing operation only as

regulated take-out services. The Amended Dallas City Order further provided that “[t]he owner,

manager, or operator of any facility that is likely to be impacted by these regulations shall post a

copy of these regulations onsite and visible to users of the facility and provide a copy to any user

of the facility asking for a copy.”

20.     On March 18, 2020, Dallas County issued another Amended Order. This Order noted: “On

March 16, 2020, President Trump acknowledged the gravity of the COVID-19 pandemic, releasing

strict new guidelines to limit people’s interactions, including that Americans should avoid groups

of more than 10 people.” The March 18th Amended Dallas County Order prohibited “Public or

private Recreational Gatherings and Community Gatherings.” It further ordered that “[b]ars,

lounges, taverns, private clubs, arcades, and gyms shall close.”

21.     On March 20, 2020, Governor Greg Abbott announced that the U.S. Small Business

Administration (SBA), at his request, had included the entire state of Texas in its Economic Injury

Disaster Declaration. The Governor’s request for inclusion in this Declaration was based on

economic losses being suffered across Texas Related to major event cancellations, loss of walk-in

customers, depletion of stock from suppliers, and client cancellations. "The overriding message of

this time in history is that we are all in this together," said Governor Abbott. "From people

responsibly remaining at home to protect themselves and their communities to the small businesses

adapting to serve them, Texans are showing their willingness to serve the greater good and that’s

why we’ll overcome this together. That’s what Texans do. We are not only Texas Strong, we are

#TexasBizStrong."




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22.     On March 24, 2020, the World Health Organization indicated that the United States had

the potential to become the center of the COVID-19 pandemic. Also on March 24, 2020, Dallas

County issued is Stay Home Stay Safe Order, requiring those living in Dallas County to shelter at

their residence. Only essential businesses were allowed to continue to operate.

23.     On March 29, 2020, Dallas County issued another Amended Order, again recognizing:

“[I]t is essential that the spread of the virus be slowed to protect the ability of public and private

health care providers to handle the influx of new patients and safeguard public health and safety.

Because of the risk of the rapid spread of the virus, and the need to protect the most vulnerable

members of the community, this Order requires all individuals anywhere in Dallas County to

shelter in place – that is, stay at home – except for certain essential activities and work to provide

essential business and government services or perform essential public infrastructure construction,

including housing.” (Emphasis added.)

24.     Dallas County issued an Amended Order on April 6, 2020, continuing the extraordinary

rules and regulations previously adopted. This Amended Dallas County Order stated:

        WHEREAS, this Emergency Order is necessary because of the propensity of the
        virus to spread person to person and also because the virus is physically causing
        property damage due to its proclivity to attach to surfaces for prolonged periods of
        time;

        WHEREAS, this Emergency Order is necessary to protect the lives, health, welfare,
        and safety of the County’s residents from the devastating impacts of this pandemic
        ....

The Amended Dallas County Order further provides as to Restaurants:

        Restaurants. Restaurants with or without drive-in or drive-through services and
        microbreweries, micro-distilleries, or wineries may only provide take out, delivery,
        or drive-through services as allowed by law. In-person service is prohibited.
        Customers may order and pay inside, but are prohibited from waiting inside the
        restaurant for their food. All food must be brought outside to customers. To allow
        for increased access to restaurants, this Order hereby suspends all laws and
        regulations prohibiting people from walking in a drive-through.

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(Emphasis added.)

25.     As of April 11, 2020, all 50 states as well as the U.S. Virgin Islands, the Northern Mariana

Islands, Washington, D.C., Guam and Puerto Rico have received a federal disaster declaration as

a result of the pandemic. American Samoa is the only U.S. territory that is not under a major

disaster declaration.

26.     On March 16, 2020, prior to submitting any claim, Lombardi’s insurance agent represented

to Lombardi’s that Chubb had been asked how BI [business interruption] might respond in

connection with the restaurant program in which Lombardi’s was insured, and the response was

that “Chubb [was] having high level discussions and we are awaiting their direction.”

27.     Lombardi’s provided a notice of a claim under the Policy and other policies in connection

with the recent events involving the 2019 Novel Coronavirus pandemic on March 17, 2020. Chubb

acknowledged the notice was received on March 18, 2020.

28.     On March 18, 2020, the same day notice was provided, Chubb adjuster Jennifer Dixon

informed Lombardi’s in a telephone call that Chubb was going by the “black and white” written

word in the Policy and that there were no physical damages to cause the payment of a business

interruption claim. No other basis for this preemptive and pre-textual denial was provided.

29.     On March 19, 2020, the Chubb adjuster informed Lombardi’s by telephone that Chubb

would be drafting a reservation of rights letter to send to Lombardi’s. The adjuster said this letter

would state the claim was under investigation and was ongoing and that this would not be a hard

“no.” She stated the letter would look like a declination letter, and it would outline what parts of

Lombardi’s policy were under review/investigation and might be used to deny coverage at some

point. She advised that this allowed Chubb to keep the claim open with the opportunity to learn

of changes that would allow them to pay the claim.

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30.      On March 24,           2020, Lombardi’s emailed a                           letter to   Chubb   stating:


         We    strongly disagree with the approach    Chubb has taken to regarding this claim.
         Just a few hours after it was submitted, you made very clear in a phone conversation
         ... there was n0 physical damage to       property. You stated that Chubb was strictly
                                                                      .   .   .




         following the letter of the contract. Then, the next day you said Chubb would be
         issuing a reservation ofrights letter that would 100k like a declination letter. Clearly,
         Chubb is denying for now, and the reservation is a tool for Chubb to try and keep
         the claim     open      in the event   it   sees something that might change                             its   mind.


         Your insured           is   less than twenty-four                        hours from having t0          let     go of over 700
         employees.         We do not have a week or ten days t0 wait to see what Chubb's position
         is.You have obviously as a company been working 0n these issues in anticipation
         0f such claims. You noted all of these letters, being sent t0 insureds across the
         country, were a part 0f a          Chubb             special review process for these events.


Lombardi’s received n0 acknowledgement 0r response                                         t0 this letter.


31.      On    April   6,   2020, Chubb ﬁnally provided                             its   coverage position        letter. It   was not   a “soft”


reservation of rights as promised.                   It       was “hard”              denial.    The   letter     contained several blatant


misrepresentations:


               0     “Indemnity Insurance                 Company ofNorth America (“Chubb”)                                  has completed              its
                                                                      ”
                     factual investigation           .    .   .   .




                            o    Chubb made no                    request to Lombardi’s for documents 0r information
                                 relating to the claim.


                            o    Chubb denied 0n the same day the claim was presented and could not
                                 have done a proper 0r thorough investigation.

               o     “There is n0 information supporting any direct physical loss or                                               damage           has
                     occurred that caused such orders t0 be issued.”


                            o    Chubb    misstates the terms 0f the Policy.                       The Policy actually states: “We
                                                                                                 damage to Covered Property      .”
                                 willpay    for direct physical loss                        gfor                                            .   .   .




                                 (Emphasis added. The same requirement                                       is     stated in the Business
                                 Interruption insuring agreement.)                               Chubb rewrote            the policy to try to
                                 make   it look like only a physical impact or change to the property was

                                 covered and would permit coverage for business income loss. At the very
                                 least, Lombardi’s suffered a physical loss 0f the covered property as a
                                 resultof actions taken to limit the impact 0f the pandemic 0n the health
                                 care system. Further, Lombardi’s clearly suffered a loss 0f use 0f



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                          Covered Property because was unable                t0 operate   and use the restaurant
                          for in—person dining.


                      o   This same deliberate and signiﬁcant omission has been used by Chubb
                          in hundreds 0f letter notiﬁcations regarding its position on coverage
                          provided to policyholders in the State of               New     York. These coverage
                          position statements were issued            by Chubb    in response t0 an order of the
                          New York    Department of Financial Services t0 provide policyholders
                          with detailed information regarding Chubb’s position regarding the
                          various types 0f policies written in that state in connection with the 2019
                          Novel Coronavirus.

                      o   Chubb wrongly          suggests that “independent adjusters or experts” were
                          retained   by    it   t0 investigate      and adjust the claim when there           is   n0
                          evidence that any investigation was actually undertaken.


                      o   Chubb   states: “[I]t is     our understanding that governmental authorities
                          ordered the captioned premises to reduce occupancy and subsequently
                          close as a precaution to prevent the spread    0f the COVID-19 virus.”
                          (Emphasis added.) The orders prohibited any occupancy for in-person
                          dining. Moreover, Chubb’s statement admits the widespread nature of
                          the pandemic and that the threat it presents requires prohibiting the use
                          0fthe insured property. This         is                  caused
                                                                    clearly a loss ofthe property that   is

                          by a pandemic and the need to protect the health system and the
                          community.

                      o   Chubb   relies alternatively         on the    EXCLUSION OF LOSS DUE TO
                          VIRUS OR BACTERIA                 as a basis for denial    even though it was not a
                          stated basis in       Chubb’s   initial denial.   Contrary t0 Chubb’s assertion, this
                          is not a pandemic exclusion. Chubb ignores the fact that the exclusion
                          states that it applies only Where a Virus, that is a microorganism, is the
                          fully realized and actual cause 0f the loss. It does not state that it applies
                          t0 a loss caused by the need t0 prevent against the threat of Viral
                          transmission.


                                     V.          CAUSES OF ACTION

A.       Breach 0f Contract

32.      The   Plaintiffs incorporate     each and every allegation         set forth in this Petition as if fully


set forth in this section.




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33.     Lombardi’s has satisfied and performed all applicable terms and conditions of the Policy.

Alternatively, Chubb has waived any such term or condition and may not assert any term or

condition in the Policy as a defense to liability thereunder.

34.     The pandemic and health care crisis has resulted in the Plaintiffs suffering a physical

loss of the insured properties, and alternatively damage to the insured properties and suspension

of their businesses that are covered under the business income loss (and extra expense)

provisions of the Policy. Alternatively, coverage is available under civil authority coverage

under the Policy.

35.     The Exclusion of Loss Due to Virus or Bacteria has no application to the Lombardi’s

claims in light of its plain language. Alternatively, the exclusion is ambiguous and must be

construed in the light most favorable to Lombardi’s. Contrary to the assertions of Chubb, this

exclusion is not a pandemic exclusion.

36.     Chubb is estopped and/or has waived the right to rely on the exclusion as a result of its

premature and limited denial of coverage.

37.     Chubb failed to give proper notice and disclosure of the presence of the exclusion and is

thus barred from reliance upon it.

38.     On information and belief, Chubb is barred from relying on the exclusion as a result of

regulatory and/or administrative estoppel.

39.     Alternatively, the exclusion as interpreted by Chubb is unconscionable and/or contrary

to public policy and cannot be enforced as written.

40.     Lombardi’s operations remain suspended as a result of the threat presented by the current

circumstances.




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41.     Chubb has breached the contract by its wrongful denial, causing delay and/or loss of

receipt of the policy benefits and additional actual and/or consequential damages.

42.     Chubb is entitled to recovery of attorney’s fees incurred in the prosecution of these

claims. TEX. CIV. PRAC. & REM CODE §38.001(8).

B.      Breach of The Duty of Good Faith and Fair Dealing

43.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

44.     A special relationship exists and continues to exist between Chubb and the Plaintiffs as

a result of the first-party insurance policy issued by Chubb. Inherently unequal bargaining

power exists between Lombardi’s and Chubb.

45.     Chubb had no reasonable basis for denying or delaying payment of Lombardi’s claims

and it knew or should have known that it had no reasonable basis for denial. Chubb considered

only its own interests, proceeded only according to its one-sided and self-serving interpretation

of the Policy, and attempted to conceal from Lombardi’s that Chubb in fact made no effort to

consider Lombardi’s interests. Chubb pre-textually looked only for ways to avoid coverage

rather than first trying to find coverage.

46.     Chubb had a duty to investigate the claims fairly and objectively but it clearly failed to

make any attempt to do so. Nonetheless, it is deemed to have it is charged with full and complete

knowledge of what a reasonable investigation would have revealed, and its actions must be

judged accordingly.

47.     Accordingly, Chubb failed to attempt in good faith to effectuate a prompt, fair and

equitable settlement of a claim where its liability had become reasonably clear.




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48.     Chubb’s breach of the duty of good faith and fair dealing proximately caused actual and

consequential damages to the Plaintiffs.

C.      Punitive Damages

49.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

50.     Chubb’s breach of the duty of good faith was malicious and/or grossly negligent and

therefore supports an award of punitive damages. Chubb was directly informed of and had actual

knowledge of the grievous damages and extraordinary harm that would be caused by breach of

its duty of good faith in the event of a wrongful denial of coverage.

D.      Violation of Texas Prompt Pay Act

51.     The Plaintiffs incorporate each and every allegation set forth in this Petition as if fully

set forth in this section.

52.     Chubb has failed to timely and promptly pay as required under TEX. INS. CODE §§

542.055-542.059.

53.     Chubb should be ordered to pay “in addition to the amount of the claim, interest on the

amount of the claim at the rate of 18 percent a year as damages, together with reasonable and

necessary attorney’s fees. Nothing in this subsection prevents the award of prejudgment interest

on the amount of the claim, as provided by law.” TEX. INS. CODE sec. 542.060(a).

54.     The Plaintiffs were forced to retain the services of an attorney and law firm to represent

them with respect to their claims against Chubb because of Chubb’s wrongful acts or omissions.

Id. at sec. 542.060(b).

                              VI.    JURY TRIAL DEMANDED

55.     Plaintiffs demand a jury trial and tenders the appropriate fee with this petition.


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                            VII.    WRITTEN DISCOVERY REQUESTS

56      Pursuant to Rule 194, Defendant is hereby requested to disclose the information or

material described in Rule 194.2 (a)-(1) within fifty (50) days of the service of this request.

Additionally, under Texas Rules of Civil Procedure 196, 197, 198 and 193.3 (b), Plaintiffs

request that within fifty (50) days of service of this request that Chubb respond to Plaintiffs’

First Request for Production and Request for Privilege Log, made a part of this petition as

Exhibit “A.”

                     VIII. INTENT TO USE DEFENDANT’S DOCUMENTS

57.      In accordance With Texas Rules of Civil Procedure 193.7, any documents produced

by Defendant in response to written discovery will be used by Plaintiffs at any pre-trial

proceeding or trial.

                                            IX.     PRAYER

58.     The Plaintiffs pray that Chubb be served with process and appear herein and that, upon

final hearing hereof, this Honorable Court enter a judgement for Plaintiffs awarding the

following relief:

        a.          Actual and consequential damages for Chubb’s breach of contract;

        b.          Actual damages for Chubb’s breach of the duty of good faith and fair dealing;

        c.          Punitive damages for Chubb’s grossly negligent and/or malicious violations of

                    the duty of good faith and fair dealing;

        d.          An 18% penalty under TEX. INS. CODE section 542.060 et seq.;

        e.          Reasonable and necessary attorney’s fees and costs;

        f.          Pre-judgment and post-judgment as allowed by law;




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         g.          Such other and      further relief as   is   equitable and just, both at law and in equity, as


                     Plaintiffs   may,   at the   time 0f trial, show themselves justly     entitled.


                                                                    Respectfully submitted,


                                                                    /s/Michael W. Huddleston
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                                                      Exhibit      A
                           PLAINTIFFS’ FIRST          REQUEST FOR PRODUCTION
Pursuant t0 Rule 196 0f the               TEXAS RULES OF CIVIL PROCEDURE,                        Plaintiffs serve the
following requests for Production 0f Documents 0n Defendant. Defendant is requested t0
respond fully, in writing, and in accordance With TRCP 196. The documents requested are to
be produced t0 Plaintiffs’ counsel Within ﬁfty (50) days after service of this request. You are
further advised that you are under a duty to reasonably supplement your answer. Finally,
Plaintiffs demand a privilege log identifying any documents withheld 0n the basis of privilege
and that Defendant identify the privilege relied upon.

NOTE: For each             separately numbered request below please delineate each set of documents
         so that     it   can be easily ascertained which documents Relate t0 Which numbered request.

                                                   DEFINITIONS

         The following terms have the following meanings, unless                   the context requires otherwise:


1.       Parties.         “Plaintiffs”   mean each and every one 0f the         parties identiﬁed in paragraph 3   0f
         the Original Petition ﬁled in this cause. “Defendant”                  means a   party’s full or abbreviated
         name    or pronoun referring to the defendant and Chubb’s designated claim-handler and/or
         adjuster,        Chubb N.A., and Chubb’s     agents, representatives, ofﬁcers, directors, employees,
         partners, corporate parent, subsidiaries,           and   afﬁliates.


2.       You, Your, and Yours. “You”, “Your”, and “Yours”                        mean Chubb and its
                                                                                as used herein
         designated agents for handling the claim, Chubb N.A., and       Chubb’s  agents, employees,
         afﬁliates, representatives, attorneys, experts, and other persons acting 0r purporting t0 act
         on behalf of Defendant.

 3.      Person. “Person”          means any    natural person, a business, a legal or governmental entity, or
         an association.

4.       Document. “Document” means all writings 0f every kind, source and authorship, both
         originals and all non-identical copies thereof, in your possession, custody 0r control, or
         known by you to exist, irrespective of whether the writing is intended for or transmitted
         internally        by you 0r intended    for or transmitted t0      any other person or     entity, including
         without limitation any governmental agency, department, administrative, or private entity
         or person.   The term shall include handwritten, type-written, printed, photocopied,
         photographic or recorded matter.             It   shall also include all non-identical copies      (whether
         different from originals by reason 0f notations made on such copies 0r otherwise) of all
         writings; recordings; papers; brochures; circulars; advertisements; letters; memoranda;
         minutes; notes or records of meetings; reports; comments; afﬁdavits; statements;
         summaries; messages; worksheets; notes; correspondence; surveys; interviews; diaries;
         calendars; appointment books; registers; travel records; tables; calculations; books 0f
         account; budgets; bookkeeping or accounting records; telephone records; stenographic
         notes; ﬁnancial data; receipts; ﬁnancial statements; annual reports; accountants’                     work
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         papers; analyses; forecasts; statistical 0r other projections; newspaper articles; press
         releases; publications; tabulations; graphs; charts;                           maps; telegrams; books; agreements;
         opinions or reports 0f experts; records 0r transcripts of conversations, discussions,
         conferences, meetings, or interviews, Whether in person or by telephone or by any other
         means; stored information from computers or other information retrieval or storage
         systems, databases, or media (including printouts 0f such information); magnetic tapes;
         belts   and                                                          microﬁlm; microﬁche;
                       discs; electronic mail; electronic or digitized material;
         photographs;   sound  reproductions;    all drafts  and preliminary copies 0f any of the
         foregoing; and all other forms or types of written or printed matter or tangible things on
         Which any words, phrases, 0r numbers are afﬁxed, however produced 0r reproduced and
         Wherever located, including all duplicates 0f any 0f the foregoing which are in Your
         possession, custody, or control. It shall include photographs, sound recordings, ﬁlms, tapes
         and information stored in 0r accessed through a computer or other information storage or
         retrieval systems, together with the codes and/or programming instructions and other
         materials necessary t0 understand and use such systems, emails or other electronic
         correspondence, text messages and all other writings, the contents of which Relate to
         discuss, consider 0r otherwise refer t0 the subject matter of the particular discovery
         requested. “Document” shall also include all electronic data and electronically stored
         information With software t0 access such data and information, including but not limited
         t0 all electronic ﬁles stored on computer disk, diskette, hard drive, ﬂash drive, any
         electronic storage device or any other computer medium whatsoever.


5.       Electronically stored information.                   The term             “electronically stored information”   means
         electronic information that              is   stored in a           medium from which        it   can be retrieved and
         examined.      It   includes, but   is   not limited          to, all electronic   ﬁles that are electronically stored.


         a.          “Electronic ﬁle” includes, but               to, the following: voice-mail messages
                                                                  is   not limited
                     and ﬁles; email messages and ﬁles;       messages and ﬁles; deleted ﬁles; temporary
                                                                            text
                     ﬁles; system-history ﬁles; Internet- or web-browser-generated information stored
                     in textual, graphical, or audio format, including history ﬁles, caches, and cookies;
                     and computer-activity logs. Unless otherwise deﬁned, each example t0 illustrate
                     the term “electronic ﬁle” will have the meaning assigned to it by the Sedona
                     Conference Glossary.


         b.          “Electronic information system” refers to a computer system 0r network that
                     contains electronic ﬁles and electronic storage. Unless otherwise deﬁned, each
                     sample used to     illustrate the            term “electronic information system” will have the
                     meaning assigned        to   it   by   the   Sedona Conference Glossary.

         c.          “Electronic storage” refers t0 electronic ﬁles contained 0n magnetic, optical, or
                     other storage media, such as hard drives, ﬂash drives,                     DVDS, CDs, tapes, cartridges,
                     ﬂoppy    diskettes, smart cards, 0r integrated-circuit                   cards (e.g., SIM cards). Unless
                     otherwise deﬁned, each example used t0 illustrate the term “electronic storage” Will
                     have the meaning assigned               to   it   by   the    Sedona Conference Glossary.




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         Tangible thing.           “Tangible thing” means a physical object that                  is   not a document 0r
         electronically stored information.


         Communication.           “Communication” 0r “Communications” means any oral 0r written
         utterance,      notation or statement of any nature whatsoever, exchange by words 0f thoughts
         0r ideas to another person, whether person—to-person, in a group, in a meeting,       by
         telephone,by letter, by email, text, SMS and MMS messaging, push notiﬁcations, in—app
         messages, RCS, by facsimile, 0r by any other process, electronic or otherwise, including
         without limitation any tape recordings or any writings, printed, typed, handwritten or other
         readable correspondence, facsimiles, memoranda, reports, contracts, diaries, logbooks,
         minutes,        notes,    studies,    surveys       and   forecasts,    including    any electronically-stored
         information.


         Relating/Relate/Related.             “Relating” and/or “Relate” snd/or “related” means containing,
         concerning, arising out of (whether directly or indirectly), involving, consisting                              of,
         referring t0, supporting, prepared in connection with, used in preparation for,                     commenting
         upon, embodying, summarizing, describing, recording, mentioning, or being in any way
         legally, logically, or factually connected with or pertaining to, in whole or in part, the
         matter discussed.


         Any. The term “any” should be understood in either its most 0r least inclusive sense as
         necessary t0 bring Within the scope of the discovery request all responses that might
         otherwise be construed t0 be outside of its scope.


10.      And    &    Or.   The connectives “and” and “0r” should be construed                     either disjunctively 0r
         conjunctively as necessary to bring within the scope of the discovery request                      all   responses
         that   might otherwise be construed            t0   be outside 0f its scope.

11.      Number. The use of the             singular form of any       word includes      the plural and Vice versa.


12.      Policy. “Policy”          means Chubb Policy number            MCR D38      1   96 1 69 issued t0 Lombardi’s.


13.      Claims. “Claim” means              all   claims by Lombardi’s for coverage under the Policy.


14.      ISO. “ISO” means the Insurance Services Ofﬁce,              Inc., its predecessors, and speciﬁcally

         includes, but      is    not limited to the Insurance Rating Board or “IRB”; the National Bureau
         0f Casualty Underwriters, or                “NBCU”; and        the     Mutual Insurance Rating Bureau, 0r
         “MIRB.”

                                                     INSTRUCTIONS

         Where       a   Document      is   requested, the request includes         Documents in Your possession,
         custody, or control or in the possession, custody, or control of                  Your present or former
         employees, directors, ofﬁcers, attorneys, representatives, agents, and other Persons under
         Your control Who are reasonably likely t0 have Documents responsive t0 the request. Any
         described       Document      that is not in    your immediate physical 0r electronic possession, but

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         With regard t0 Which you have a right t0 compel production from a third person 0r Which
         is otherwise subj ect to your control, shall be obtained and produced as directed.



2.       Ifyou withhold production 0f any documents based 0n a claim ofprivilege, or for any other
         reason, please identify the documents withheld and state the basis of your privilege claim.


3.       The selection of Documents from ﬁles and other sources shall be performed in such a
         manner as t0 ensure that the ﬁle 0r other source from Which a Document is obtained may
         be identiﬁed.


4.       Documents attached t0 other Documents 0r material          shall not    be separated unless sufﬁcient
         records are kept to permit reconstruction 0f the grouping.


5   .    You are requested t0 produce electronic and magnetic data responsive t0 all requests below,
         whether 0r not speciﬁcally included in the request, and to produce                all   such data in hard
         copy form, except     for tape or other audio or Video recordings,        Which should be produced
         in their original format.


                                       REQUESTS FOR PRODUCTION

REQUEST NO.           Claims information, including any and all materials, Documents, notations,
                       1:

ﬁles, daily reports 0r claim logs or diaries, reports, correspondence, drafts 0f correspondence 0r
other Documents, supervisory or over-ﬁles or shadOW-ﬁles (whether in hard copy or tangible form
0r electronically stored), and/or Communications Related to Plaintiffs’ Claim for coverage,
including but not limited to any and         all   investigative Communications, material or          Documents.
This request also includes Communications, materials, Documents, notations, ﬁles, reports,
correspondence and/or other Communications Related t0              Plaintiffs’    Claim    for coverage that are
maintained by or in the possession of Your agents and employees that                   may       not be part 0f or
contained in an ofﬁcial or formal claims ﬁle.


REQUEST NO.             2:   Any and   all   Documents and Communications             in    any way involving
independent adjusters or experts retained by Chubb in connection with the handling or adjustment
of the Claim.


REQUEST NO.            3: A complete copy 0f the Policy, including       all    amendments and renewals 0r
amendments      that   have been made at any time t0 same.

REQUEST NO. 4:       Underwriting Documents and Communications, including but not limited to,
any  and   all materials, Documents, notations, ﬁles, reports, correspondence and/or other
Communications Related t0 Plaintiffs’ application/s for coverage, binders, proposals, and the
issuance of the Policy, including all renewals thereof. This request also includes materials,
Documents, notations, ﬁles, reports, correspondence and/or other Communications Related t0 the
determination and/or method for determining the forms and endorsements t0 be used in creating
the Policy. This request also includes information regarding the basis for rating and premium
classiﬁcations used for Lombardi’s. Finally, this request includes any internal Communications or




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guidelines regarding the handling and/or coverage positions of                        Chubb regarding business
interruption     and other claims Related             t0 the   2019 Novel Coronavirus and/or COVID—19.

REQUEST NO.             5:    As   t0   each policy provisions that      You     contend in your denial       letter   of April
3,    2020,    limits or bars coverage for Plaintiffs for the subject Claim,                       any and   all   Documents
reﬂecting drafting history of each provision, including changes in policy language and any and                              all

materials,     Documents, notations, ﬁles, reports, correspondence and/or other Communications
Related t0     actual 0r proposed changes in policy language.


REQUEST NO.              6:     Any and       all   Documents,      reports,    memos, correspondence and/or              other
documentation 0r Communications reﬂecting Your guidelines, procedures, or policies that serve
as criteria for evaluating whether claims are implicated, covered, 0r excluded by any policy
provisions that       You     contend limits 0r bars coverage for Plaintiffs for the subject Claim. This
request   is   limited to the last      ﬁve   (5) years    preceding the ﬁling of this     suit.



REQUEST NO.              7:     Any and       all   Documents,      reports,    memos, correspondence and/or              other
documentation 0r Communications reﬂecting Your guidelines, procedures, or policies that serve
as criteria for evaluating whether claims are implicated, covered, 0r excluded by any policy
provisions that       You     contend     limit/s 0r bar/s      coverage for Plaintiffs for the subject Claim. This
request   is   limited to the last      ﬁve   (5) years.


RES QUEST NO.           8:    Any and all materials, handouts,         manuals, outlines,     articles,   Communications
and/or Documents used 0r relied upon by You in any way t0 conduct any meetings, webinars,
seminars and/or any other form of instruction or formal or informal continuing education for Your
employees and/or independent adjusters regarding or pertaining in any way to (a) the adjusting
and/or handling 0f ﬁrst—party claims under Texas law and/or (b) the handling claims relating t0 the
recent pandemic and/or mentioning the 2019 Novel Coronavirus and/or COVID—19. This request
is limited t0 the last ﬁve (5) years preceding the ﬁling 0f this suit.



REQUEST NO.              9:     Any and       all   Documents,      reports,    memos, correspondence and/or              other
documentation 0r Communications provided t0 any expert                          You   designate in this litigation.


REQUEST NO.              10:       Any and      all   Documents reﬂecting          the drafting history, intent and/or
regulatory submission and approval or disapproval of regarding the                       EXCLUSION OF LOSS DUE
TO VIRUS OR BACTERIA (CP 01                         40 07   06), including     changes in policy language and any and
all   materials, documents, notations, ﬁles, reports, correspondence and/or other                         Communications
Related t0 actual 0r proposed changes in policy language.


REQUEST NO.             11:    Any and all Documents            and/or Communications from           Chubb    0r any parent,
subsidiary or afﬁliated entities t0 any third-party, including but not limited t0 insurance agents and
brokers, marketing and/or public relations ﬁrms, at any time after                     December      15, 2020,     and relating
in    any way    to   coverage 0r exclusions 0r denials 0f coverage for                  civil authority or for        business
interruption 0r business  income loss and/or commercial property coverage mentioning or
referencing the 2019 Novel Coronavirus, the pandemic, and/or COVID-19.




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REQUEST NO.           12:     Any and    all       Documents and/or Communications With any                 third-party
regarding coverage or exclusions or denials 0f coverage for commercial property claims, including
business interruption and civil authority coverage, mentioning 0r referencing the 2019 Novel
Coronavirus, the pandemic, and/or            COVID- 1 9.

REQUEST NO.           13:     Any and        all    Documents and Communications from 0r                relating t0 0r
concerning ISO and the        EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA (CP 01                                   40 O7
06 and/or   CP   01 75 07 06). This request includes Documents and/or Communications relating to
the drafting, creation, revision, or analysis of any             ISO Insurance Policy forms,     terms, 0r provisions
involving the    EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA (CP                                   01 4O 07 06 and/or
CP   01 75 07 06) and/or any other similar provision, deﬁnition, exclusion or endorsement.


REQUEST NO.          14:   Documents and Communications, including explanatory memoranda,
                             A11
relating t0 the ﬁling With 0r submission t0  any regulator, insurance department, commission 0r
agency of any State in the United States 0r in the District of Columbia relating to the approval or
consideration by that department, commission, 0r agency 0f any ISO Insurance Policy forms,
terms, or similar provisions such as or Related t0 the                   EXCLUSION OF LOSS DUE TO VIRUS
OR BACTERIA      (CP 01 40 07 06 and/or CP 01 75 07 06) and/or any other similar provision,
deﬁnition, exclusion or endorsement. Communications With ISO in connection With the drafts.


REQUEST NO.          15:          Documents and/or Communications with ISO or any other
                             Any and    all

insurance company or adjusting company relating to (a) the EXCLUSION OF LOSS DUE TO
VIRUS OR BACTERIA (CP 01 40 07 06 and/or CP 01 75 07 06), (b) other endorsements ﬁled t0
address exclusion 0f loss due to Virus or bacteria and/or any other similar provision, deﬁnition,
exclusion 0r endorsement, and/or (c) the ISO Circular dated July 6, 2006, and/or any other Circular
0f ISO generated document relating t0 the EXCLUSION OF LOSS DUE TO VIRUS                                              OR
BACTERIA (CP 01        4O O7 06 and/or CP 01 75 07               06),   new endorsements ﬁled t0 address exclusion
0f loss due to Virus or bacteria and/or any other similar provision, deﬁnition, exclusion or
endorsement.


REQUEST NO.          16:     Any and   all   Documents and/or Communications With ISO or anyone else
relating to the ﬁling of CF-2006-OVBEF in           any ISO jurisdictions and recommendations regarding
the ﬁling to the independent bureaus in other jurisdictions.


REQUEST NO.          17:      Any and    all       Documents      relating to ﬁling/s   .    and/or recommendations
relating   to   CF-2006-OVBEF          and/or the            EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP         01 40 07 06 and/or        CP        01 75 07 06).


REQUEST NO.            18:         Any and         all   Documents and/or Communications              relating   to   the
determination 0r relationship of ratings and               CF-2006-OVBEF        and/or the   EXCLUSION OF LOSS
DUE TO VIRUS OR BACTERIA                       (CP 01 40 07 06 and/or CP 01 75 07                 06), including      any
Documents and/or Communications               relating to ratings software or the impact         on   ratings software.


REQUEST NO. 19: Any and all Documents and/or Communications relating t0 any ISO circular
       CF-2006-OVBEF and/or the the EXCLUSION OF LOSS DUE TO VIRUS OR
relating to
BACTERIA         (CP 01 40 07 06 and/or CP 01 75 07                     06), including but not limited to    any rules

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revisions relating t0   CF-2006-OVBEF          and/or the   EXCLUSION OF LOSS DUE TO VIRUS OR
BACTERIA (CP         01 40 07 06 and/or      CP   01 75 07 06).


REQUEST NO.      20:    Any and all materials, handouts, manuals, outlines, articles,
Communications and/or Documents relating to the use 0f notiﬁcation forms such as ALL-38009
(02/ 13) and/or any similar forms.


REQUEST NO.          21:      Any   materials, handouts, manuals, outlines, articles,      Communications
and/or Documents regarding          when   insureds are to be given notice of a particular exclusion being
included in a policy.


REQUEST NO.             22:     Any and         all   materials,   handouts,   manuals,   outlines,   articles,

Communications         and/or Documents relating to requirements of the Texas Department of
Insurance that certain exclusions 0r limitations in a policy be pointed out to policyholders.


REQUEST NO.             23:     Any and         all   materials,   handouts,   manuals,   outlines,   articles,

Communications and/or Documents referencing requirements 0f any insurance regulatory
department, commission or authority that certain exclusions or limitations in a policy be pointed
out t0 policyholders, such as the use 0f ALL-38009 (02/13).


REQUEST NO.             24:     Any and         all   materials,   handouts,   manuals,   outlines,   articles,

Communications and/or Documents referencing CF-2006-OVBEF and/or the EXCLUSION OF
LOSS DUE TO VIRUS OR BACTERIA (CP           01 40 07 06 and/or CP 01 75 07 06) and relating to
any requirements of any insurance regulatory department, commission or authority that certain
exclusions or limitations in a policy be pointed out t0 policyholders, such as the use        0fALL-38009
(02/ 13) and/or any internal    Chubb      rules 0r guidelines regarding such actions or compliance.


REQUEST NO.          25:      Any   materials, handouts, manuals, outlines, articles,      Communications
and/or Documents t0 or from any organization or group of 0r individual insurance brokers or
agents that Relates t0 any statement 0f position      by Chubb and/or Communication with
policyholders in general (as opposed to communicating With a speciﬁc policyholder), on the
subject of business interruption 0r business income coverage in light 0f the pandemic and/or the
2019 Novel Coronavirus and/or COVID-19, prepared 0r communicated in any manner or fashion
since December 15, 2019.




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                                         FELICIA PITRE
                             DALLAS COUNTY DISTRICT CLERK

                                      NINA MOUNTIQUE
                                        CHIEF DEPUTY




                              CAUSE NO. DC-20-05751



                               LOMBARDI'S, INC. et al

         vs. INDEMNITY INSURANCE COMPANY OF NORTH AMERICA



                                   14th District Court




                      ENTER DEMAND FOR JURY
                           JURY FEE PAID BY: PLAINTIFF

                                      FEE PAID: $40




                  600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                       FAX (214)653-7781 E-mail: Felicia.Pitre@dallascounty.org
                       Web site: http://www.dallascounty.org/distclerk/index.html
                                                                                                                 FILED
                                                                                                    5/22/2020 12:18 PM
                                                                                                         FELICIA PITRE
 Case 3:20-cv-01371-G Document 1 Filed 05/27/20                 Page 105 of 113 PageID         105 DISTRICT CLERK
                                                                                                  DALLAS CO., TEXAS
                                                                                                  Loaidi Grove DEPUTY


                                    CAUSE NO. DC-20-05751


 LOMBARDI’S INC.; LOMBARDI’S                     § IN THE DISTRICT COURT OF
 FAMILY CONCEPTS, INC.; PENNE                    §
 SNIDER, LLC; PENNE PRESTON, LLC;                §
                                                 §
 ALBERTO LOMBARDI INTERESTS,                     §
 LLC; TAVERNA DOMAIN AUSTIN, LP;                 §
 CAFÉ TOULOUSE RIVER OAKS                        §
 DISTRICT; CAFÉ MONACO HPV, LLC;                 §
 PENNE LAKEWOOD, LLC; TAVERNA                    §
 BUCKHEAD, LP; TAVERNA AUSTIN,                   §
 L.L.C.; TAVERNA FT. WORTH, LLC;                 §
                                                 §
 TOULOUSE KNOX BISTRO, LLC;                      §
 TAVERNA ARMSTRONG, L.L.C.;                      §
 TOULOUSE DOMAIN AUSTIN, LP;                     §
 BISTRO 31 LEGACY, LP; TAVERNA                   §
 LEGACY, LP; TAVERNA BUCKHEAD,                   §
 LP; AND LOMBARDI’S OF DESERT                    §
                                                 §
 PASSAGE, INC.                                   §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              § DALLAS COUNTY, TEXAS
                                                 §
 INDEMNITY INSURANCE COMPANY                     §
 OF NORTH AMERICA,                               §
                                                 §
        Defendant.                               § A-14TH JUDICIAL DISTRICT


                     ORIGINAL ANSWER OF DEFENDANT
             INDEMNITY INSURANCE COMPANY OF NORTH AMERICA

       DEFENDANT INDEMNITY INSURANCE COMPANY OF NORTH AMERICA

(hereinafter “Defendant”), in the above-entitled and numbered cause, files this Original Answer in

the above-captioned lawsuit and would show:

                                          GENERAL DENIAL

       Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies all of the

allegations contained in Plaintiffs’ Original Petition, and any amendments and supplements

thereto, and requests that this Court require Plaintiffs to prove such allegations by a preponderance
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of the evidence as required by the Texas Constitution and by the statutes, laws, and Rules of Civil

Procedure of the State of Texas.

                                    REQUEST FOR DISCLOSURE

       Pursuant to Tex. R. Civ. P. 194, Plaintiffs are requested to provide Defendant the

information and documentation set forth in Rule 194 within 60 days of this request.

 Dated: May 22, 2020                              NORTON ROSE FULBRIGHT US LLP
                                                  /s Daniel McNeel Lane, Jr.
                                                  Daniel McNeel Lane, Jr.
                                                  State Bar No. 00784441
                                                  neel.lane@nortonrosefulbright.com
                                                  Frost Tower
                                                  111 W. Houston Street, Suite 1800
                                                  San Antonio, TX 78205
                                                  Telephone:    (210) 224-5575
                                                  Facsimile:    (210) 270-7205

                                                  ATTORNEYS FOR INDEMNITY INSURANCE OF
                                                  NORTH AMERICA



                                   CERTIFICATE OF SERVICE

       This pleading, Original Answer of Defendant Indemnity Insurance Company of North
America, has been served upon all counsel of record in compliance with Rules 21 and 21a of the
Texas Rules of Civil Procedure on May 22, 2020:

        Patrick A. Luff
        Robert E. Ammons
        The Ammons Law Firm, LLP
        3700 Montrose Blvd.
        Houston, Texas 77006
        rob@ammonslaw.com
        Patrick.luff@ammonslaw.com




                                                             /s/ Daniel McNeel Lane, Jr.

                                                               Daniel McNeel Lane, Jr.




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                                CAUSE NO. DC-20-05751


LOMBARDI’S INC.; LOMBARDI’S              § IN THE DISTRICT COURT OF
FAMILY CONCEPTS, INC.; PENNE             §
SNIDER, LLC; PENNE PRESTON, LLC;         §
                                         §
ALBERTO LOMBARDI INTERESTS,              §
LLC; TAVERNA DOMAIN AUSTIN, LP;          §
CAFÉ TOULOUSE RIVER OAKS                 §
DISTRICT; CAFÉ MONACO HPV, LLC;          §
PENNE LAKEWOOD, LLC; TAVERNA             §
BUCKHEAD, LP; TAVERNA AUSTIN,            §
L.L.C.; TAVERNA FT. WORTH, LLC;          §
                                         §
TOULOUSE KNOX BISTRO, LLC;               §
TAVERNA ARMSTRONG, L.L.C.;               §
TOULOUSE DOMAIN AUSTIN, LP;              §
BISTRO 31 LEGACY, LP; TAVERNA            §
LEGACY, LP; TAVERNA BUCKHEAD,            §
LP; AND LOMBARDI’S OF DESERT             §
                                         §
PASSAGE, INC.                            §
                                         §
       Plaintiffs,                       §
                                         §
v.                                       § DALLAS COUNTY, TEXAS
                                         §
INDEMNITY INSURANCE COMPANY              §
OF NORTH AMERICA,                        §
                                         §
       Defendant.                        § A-14TH JUDICIAL DISTRICT

                       INDEX OF STATE COURT DOCUMENTS

Document                                                         Date Filed
Plaintiffs’ Original Petition                                    04-16-2020
Jury Demand (by Plaintiffs)                                      04-16-2020
Defendant’s Original Answer                                      05-22-2020
JS 44 (Rev. 06/17)                          CIVIL 1COVER
                     Case 3:20-cv-01371-G Document          SHEET Page 109 of 113 PageID 109
                                                    Filed 05/27/20
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
See attached for list of plaintiffs.                                                                        Indemnity Insurance Company of North America

    (b) County of Residence of First Listed Plaintiff             Dallas                                      County of Residence of First Listed Defendant              Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Michael W. Huddleston (Munsch Hardt Kopf & Harr, P.C.                                                       Daniel McNeel Lane, Jr. (Norton Rose Fulbright US LLP)
500 North Akard Street, Suite 3800                                                                          111 W. Houston Street, Suite 1800
Dallas, Texas 75201-7584 (Telephone: (214) 855-7500                                                         San Antonio, Texas 78205 (Telephone: (210) 270-7170

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
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’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
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’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC 1441
VI. CAUSE OF ACTION Brief description of cause:
                                           Insurance contract coverage dispute
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                         1,000,000.00                             JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
05/22/2020                                                              /s/ Daniel McNeel Lane, Jr.
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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CIVIL COVER SHEET ADDENDUM:
Lombardi’s Inc., et al v. Indemnity Insurance Company of North America

PLAINTIFFS:

Lombardi’s Inc.
Lombardi’s Family Concepts, Inc.
Penne Snider, LLC
Penne Preston, LLC
Alberto Lombardi Interests, LLC
Taverna Domain Austin, LP
Café Toulouse River Oaks District, LP
Café Monaco HPV, LLC
Penne Lakewood, LLC
Taverna Buckhead,LP
Taverna Domain Austin LP
Taverna Austin, L.L.C.
Taverna Ft. Worth, LLC
Toulouse Knox Bistro, LLC
Taverna Armstrong, L.L.C.
Toulouse Domain Austin, LP
Bistro 31 Legacy, LP
Taverna Legacy, LP
Taverna Buckhead LP
Lombardi’s of Desert Passage, Inc.




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Supplemental Civil Cover Sheet
Page 1 of 2

                         Supplemental Civil Cover Sheet for Cases Removed
                                        From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                     Case Number
         A-14th                                           DC-20-05751


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                         Party and Party Type                               Attorney(s)
         See attached.                                    See attached.




    3. Jury Demand:

        Was a Jury Demand made in State Court?            ✔    Yes                  No
                  If “Yes,” by which party and on what date?

                  Plaintiffs
                  ___________________________________                 05/22/2020
                                                                      ______________________
                  Party                                               Date
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Supplemental Civil Cover Sheet
Page 2 of 2

    4. Answer:

        Was an Answer made in State Court?        ✔   Yes                      No
                 If “Yes,” by which party and on what date?

                 Plaintiffs
                 ___________________________________                  04/16/2020
                                                                      ______________________
                 Party                                                Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                              Reason(s) for No Service
         N/A




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                        Reason
         N/A




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                        Claim(s)
         Plaintiffs                                   Breach of Contract
                                                      Breach of the Duty of Good Faith and Fair Dealing
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LIST OF PARTIES AND COUNSEL (Attachment to Supplemental Civil Cover Sheet



 PLAINTIFFS                               COUNSEL
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                                          State Bar No. 1048415
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                                          Dallas, Texas 75201-7584
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 Taverna Ft. Worth, LLC
 Toulouse Knox Bistro, LLC
 Taverna Armstrong, L.L.C.
 Toulouse Domain Austin, LP
 Bistro 31 Legacy, LP
 Taverna Legacy, LP
 Taverna Buckhead LP
 Lombardi’s of Desert Passage, Inc.



 DEFENDANT                                COUNSEL
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